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 1   1.         Introduction

 2   This expert report is submitted in connection with the matter known as Kelsey Cascadia Rose
 3   Juliana; Xiuhtezcatl Tonatiuh M., through his Guardian Tamara Roske-Martinez; et al., v. The
 4   United States of America; Donald Trump, in his official capacity as President of the United
 5   States; et al., United States District Court, District of Oregon Case No. 6:15-cv-015-17-TC. I
 6   have been asked to assess claims made by Mark Z. Jacobson regarding “the feasibility of
 7   transitioning the United States of America to 100% clean and renewable energy in all energy
 8   sectors by mid-century,” as proffered by Dr. Jacobson in his Expert Report (page 1), dated April
 9   6, 2018. The opinions contained in this report are based on my professional knowledge, training,
10   and experience. I reserve the right to supplement this report as additional information is made
11   available.

12   2.         Qualifications

13   I am a Senior Research Engineer1 at the Massachusetts Institute of Technology (MIT) in the MIT
14   Energy Initiative2, an interdisciplinary laboratory that carries out energy-related research. I have
15   worked as an energy researcher at MIT for over 29 years. My primary focus for the past 15 years
16   has been carbon dioxide capture and storage (CCS). I also have worked extensively in the fields
17   of geothermal energy, industrial energy efficiency, biomass, and energy conversion (e.g.,
18   biomass to transport fuels). Sponsors of my research have included industry, government, and
19   environmental organizations. These sponsors have been both domestic and international. My
20   curriculum vitae is included as Appendix A to this report, and a list of my publications from
21   2008 to the present is contained in Appendix B.
22
23   My research has focused on improving the environmental performance of energy systems in the
24   United States, especially with respect to the de-carbonization of such systems. I received a
25   Certificate from the Intergovernmental Panel on Climate Change (IPCC) for my work on the
26   IPCC Special Report on Carbon Dioxide Capture and Storage. The certificate reads: “presented
27   to Howard Herzog for contributing to the award of the Nobel Peace Prize for 2007 to the IPCC.”
28   I was the coordinating lead author on the chapter entitled “Costs and economic potential.”3
29
30   I trained as a Chemical Engineer at MIT, and spent ten years in industry, before returning to MIT
31   in 1989 to join the research staff. My work at MIT focuses on the interrelationship between
32   technology and policy as it relates to energy systems and climate change. I have supervised the
33   research of dozens of MIT graduate students, who have subsequently successfully defended their
34   masters and doctorial theses. I founded and directed the Carbon Sequestration Initiative, an
35   industrial consortium focused on CCS with 26 member companies. Currently, I chair the
36   steering committee for the International Energy Agency’s Greenhouse Gas R&D Programme’s
37   CCS Cost Network.
38


     1
         This is the highest position on the research staff at MIT.
     2
       The founding director of the MIT Energy Initiative is Prof. Ernest Moniz, who served as U.S. Secretary of Energy
     from May 2013 to January 2017.
     3
      Each chapter had two Coordinating Lead Authors (CLAs), with support from between 5 and 20 or more lead
     authors. CLAs participated in the drafting of the Summary for Policy Makers and the Technical Summary.



                                                                                                                      1
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39   I have an extensive background in modeling. I have expertise in developing engineering cost
40   models, including but not limited to detailed models for enhanced geothermal systems, CCS, and
41   conversion of biomass to fuels. I am the co-founder of Aspen Technology, a firm that develops
42   process simulation models4. At MIT, I work closely with the energy economists who developed
43   the Emissions Prediction and Policy Analysis (EPPA) model, which is a multi-sector, multi-
44   regional general equilibrium model of the world’s economy. My supervision of MIT graduate
45   students involves engagement with many types of computational models, including process
46   models, dynamic models, electricity system dispatch models, costing models, and the EPPA
47   model.
48
49   I have authored a book for The MIT Press Essential Knowledge Series entitled Carbon Capture.
50   It will be released in September, 2018.
51

52   3.       Summary Overview

53   The Plaintiffs in this case have put forward a proposal to convert 100% of the energy system of
54   the United States of America to renewable energy by the year 2050. Specifically, the Expert
55   Report of Mark Z. Jacobson, dated April 6, 2018, states:

56            “I conclude … that it is both technically and economically feasible to transition
57            from a predominantly fossil fuel-based energy system to a 100% clean, renewable
58            energy system for all energy sectors by 2050, with about 80% conversion by
59            2030…” (page 2)

60   Jacobson refers to this framework as “100% WWS (wind, water, solar).” He further states
61
62            “Our research further finds that the U.S. electric power grid with 100% WWS can stay stable
63            at low cost (similar or less than today’s direct energy cost …)” (page 4)
64
65   Jacobson (Expert Report, page 4) affirms that “the methodology for this research” is “outlined in
66   detail in Jacobson et. al. (2015a, 2015b) and updated in Jacobson et al. (2017a; 2018)”. The four
67   papers can by organized as shown below:
68
              Paper Focus                           Original Paper                          Updates
     100% WWS Roadmaps                         Jacobson et al. (2015a)             Jacobson et al. (2017a)
     Grid Integration & Reliability            Jacobson et al. (2015b)             Jacobson et al. (2018)
69
70   I examined and assessed the facts and data, along with the principles and methods applied by
71   Jacobson to support his conclusions that: (1) “it is both technically and economically feasible to
72   transition from a predominantly fossil fuel-based energy system to a 100% clean, renewable
73   energy system for all energy sectors by 2050, with about 80% conversion by 2030…” (page 2);
74   and (2) “the U.S. electric power grid with 100% WWS can stay stable at low cost (similar or less
75   than today’s direct energy cost …” (page 4).
76

     4
      Process simulation models assist engineers in the design and operation of industrial processes, such as oil refining,
     chemical production, power generation and many more.



                                                                                                                         2
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 77   It is my expert opinion that Jacobson’s conclusions are based on insufficient facts and data, and the
 78   incorrect application of generally accepted methods. As a result, I believe that Jacobson’s opinions
 79   cannot be reasonably relied upon. Specifically, Jacobson’s conclusions are unreliable, because he:
 80   (1) relies on flawed data, (2) does not sufficiently analyze critical areas, and (3) applies a flawed
 81   methodology, making them unreliable in their application to support his conclusions. Below, I
 82   summarize the issues with Jacobson’s data and methods. In the appendices of this report, I provide
 83   analyses to support my findings.

 84   First, Jacobson fails to define what he means by “technically and economically feasible.” In my
 85   expert opinion, concluding that an engineered system is technically feasible requires evidence
 86   that the technology has been demonstrated at scale, with its performance characteristics
 87   sufficiently well-documented, such that required permits and financing are obtainable. It also is
 88   my expert opinion that concluding that an engineered system is economically feasible from a
 89   project financing perspective requires evidence that the technology has similar or lower costs
 90   than competing technologies, and/or has benefits, for which the facts evidence that people are
 91   willing to pay additional costs. Jacobson fails to offer such evidence in his expert report.

 92   Second, it is my expert opinion that Jacobson’s proposed timelines for building, installing, and
 93   deploying the necessary facilities and infrastructure to transition to his proposed energy system
 94   are unrealistic and likely infeasible by failing to address myriad real-world considerations. He
 95   provides insufficient data and offers no reliable methodology to support his proposed timelines
 96   (Section 4.1).

 97   Third, it is generally accepted that three criteria are necessary to demonstrate, in Jacobson’s own
 98   words, a “solution to the grid reliability problem” (Jacobson et al. 2015b, page 15060). Jacobson
 99   fails to demonstrate that his 100% WWS system satisfies these criteria, specifically:

100       1. Supply and demand must match at all times. It is my expert opinion that the
101          simulations run by Jacobson using the LOADMATCH model are not consequential,
102          because they include unrealistic assumptions regarding energy storage, hydrogen
103          production, demand response, and hydroelectric power. The data and facts underlying his
104          model are flawed and insufficient, which prevents the reliable application of his
105          methodology (Section 4.2).

106       2. Electricity must be moved effectively from where it is generated to where it is used.
107          Jacobson’s simulations assume that new long-distance transmission lines will solve this
108          problem. It is my expert opinion that his solution is insufficiently supported by data and
109          contains no modeling or simulation to demonstrate that the proposed long-distance
110          transmission framework will work. Further, Jacobson presents insufficient facts or data
111          regarding key implementation issues for long-distance transmission, such as siting,
112          permitting, and governance (Section 4.3).

113       3. Grid services, such as frequency control, operational reserves, and security are
114          essential to a properly-functioning energy system. Jacobson’s modeling and
115          simulations pay little or no attention to these concerns. It is my expert opinion that
116          Jacobson offers insufficient data and does not apply reliable principles and methods to
117          show how his proposal will satisfy these essential services (Section 4.4).




                                                                                                              3
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118   Fourth, it is my expert opinion that Jacobson’s work failed to reliably apply principles and
119   techniques of cost estimation. Specifically, Jacobson’s Expert Report, and his supporting
120   analyses in Jacobson et al. (2015b) and Jacobson et al. (2018), fail to conform to best practices in
121   cost estimation, including modeling the cost of capital, estimating total capital costs, determining
122   capacity factors, indexing year dollars, and accounting for macroeconomic impacts (Section 4.5).

123   In summary, it is my expert opinion that, because Jacobson: (1) uses insufficient and/or flawed
124   facts or data, (2) does not use reliable methods for key aspects of his proposed solution, and (3)
125   does not apply generally accepted principles and techniques reliably to support key components
126   of his testimony, he fails to evince that it is both technically and economically feasible to
127   transition from a predominantly fossil fuel-based energy system to a 100% clean, renewable
128   energy system for all energy sectors by 2050, with about 80% conversion by 2030. Furthermore,
129   these flaws render his claim that costs of a 100% WWS energy system will be “similar or less
130   than today’s direct energy cost” (Jacobson Expert Report, page 4) invalid. Finally, I believe that the
131   timeline proposed by Jacobson to transform the United States energy system to 100% WWS is
132   unsubstantiated and unrealistic.

133   The sections that follow discuss my assessment of Jacobson’s Expert Report. Jacobson fails to
134   provide all of the inputs and outputs underpinning his models, and therefore my assessment is
135   limited to the information included in his Expert Report, and that which is publically available. I
136   reserve the right to revisit my assessment and update this report should additional material be
137   made available to me.

138   I note that I am not the only scholar to have concerns with the data, methods, and findings
139   posited by Jacobson. Scholars, including those who have performed peer review on Jacobson’s
140   publications, have reached conclusions similar to my own. Specifically Clack et al. (2017)5 and
141   Heard et al. (2017) noted the following about Jacobson et al. (2015b), which Jacobson asserts is
142   the foundation of his Expert Report:

143           “The scenarios of [Jacobson et al. 2015b] can, at best, be described as a poorly
144           executed exploration of an interesting hypothesis. The study’s numerous
145           shortcomings and errors render it unreliable as a guide about the likely cost,
146           technical reliability, or feasibility of a 100% wind, solar, and hydroelectric power
147           system. It is one thing to explore the potential use of technologies in a clearly
148           caveated hypothetical analysis; it is quite another to claim that a model using
149           these technologies at an unprecedented scale conclusively shows the feasibility
150           and reliability of the modeled energy system implemented by midcentury.” (Clack
151           et al., 2017, page 6727)
152
153           “If one reaches a new conclusion by not addressing factors considered by others,
154           making a large set of unsupported assumptions, using simpler models that do not
155           consider important features, and then performing an analysis that contains critical
156           mistakes, the anomalous conclusion cannot be heralded as a new discovery. The

      5
        Clack et al. (2017) is a direct rebuttal to Jacobson et al (2015b). Clack had 20 energy experts as co-authors,
      including two from Jacobson’s employer, Stanford University. Clack et al. identified insufficient power system
      modeling, including 2 modeling errors, 9 implausible assumptions, and 3 instances of inadequate scrutiny of the
      climate model that Jacobson employed.



                                                                                                                         4
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157           conclusions reached by [Jacobson et al., 2015b] about the performance and cost of
158           a system of “100% penetration of intermittent wind, water and solar for all
159           purposes” are not supported by adequate and realistic analysis and do not provide
160           a reliable guide to whether and what cost such a transition might be achieved.”
161           (Clack et al., 2017, page 6727)
162
163           “For example, some studies have done system simulations… but have made
164           unrealistic assumptions in setting up the simulation… The work of [Jacobson et
165           al., 2015b] is an example of this because it depends strongly on extraordinary
166           assumptions relating to electrification, energy storage and flexibility in demand.
167           Although this work scored [the highest grade] for a fine-grained timescale
168           simulation, the results of such a simulation are likely to be meaningless because
169           the underlying assumptions are unrealistic.” (Heard et al., 2017, page 1130)
170
171   4.      Review and Assessment of Jacobson’s Expert Report

172   4.1     Finding #1: Jacobson’s proposed timelines for building, installing, and deploying
173           the necessary facilities and infrastructure to transition the United States energy
174           infrastructure to his proposed energy system are unrealistic and probably
175           infeasible.

176   Jacobson’s Expert Report page 16 contains a section, titled “Timelines for Transitioning
177   Individual Sectors,” wherein he provides a list of proposed transformation timelines for each
178   sector. Jacobson’s overall stated goal is “80% [WWS] by 2030 and 100% [WWS] by 2050,” but
179   he does not provide any details or roadmaps for achieving these goals.

180   Specifically, Jacobson’s proposed energy system would require large-scale development of new
181   energy infrastructure, including solar and wind farms in addition to transmission, distribution,
182   and storage infrastructure. Nowhere in his Expert Report does Jacobson address siting, design,
183   permitting, or financing for the necessary facilities and infrastructure. In my view, given the
184   timing required for these considerations, and for construction itself, it is improbable that
185   sufficient solar and wind capacity can be constructed to meet U.S. energy demand within the
186   timeline proposed by Jacobson in his Expert Report.

187   Further, Jacobson fails to comment on the numerous coordination issues associated with rapid,
188   large-scale transformation of the U.S. energy system. Notably, Jacobson proposes simultaneous
189   transformation of all three aspects of the energy system – energy supply (power plants), energy
190   demand (including commercial, residential, transportation, etc.), and the grid (an interconnected
191   national grid, with heavy reliance on storage). The practical challenges associated with
192   simultaneous transformation of this sort, each of which relies on the other to progress, are
193   substantial.

194   It is unclear from Jacobson’s Expert Report, or the sources he cites, exactly how this large-scale
195   energy system transformation will take place. With only proposed timelines and no detailed
196   blueprint, it is not self-evident how the myriad coordination issues inherent to any such
197   transformation will be mitigated.




                                                                                                              5
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198   Figure 1 below supports my contention that the build-out necessary to meet Jacobson’s proposed
199   transition to 100% WWS by 2050 is an order of magnitude greater on a per capita basis than
200   recent build-outs undertaken by the U.S., Germany, and China.

201   In my expert opinion, the timelines posited by Jacobson to build, install, and deploy the
202   necessary facilities and infrastructure to transition the United States energy infrastructure to a
203   proposed 100% WWS energy system are unrealistic and, in my opinion, infeasible.
204   Figure 1




205

206   Source: Michael Cembalest, Eye on the Market: Annual Energy Paper April 2018, p. 20, available online at:
207           https://www.jpmorgan.com/jpmpdf/1320745241034.pdf.

208
209   4.2        Finding #2: Jacobson fails to demonstrate that his proposed energy system can
210              match electricity supply and demand at all times, a requirement of technical
211              feasibility.

212   Wind and solar power are intermittent. Wind turbines only produce electricity when there is
213   wind; solar panels only produce electricity when the sun shines. Because wind and solar produce
214   less than 10% of our current electricity6, dealing with the intermittency of wind and solar power
215   is not a significant challenge for our energy system. If the wind stops and the sun doesn’t shine,
216   electricity generated by natural gas, coal, or nuclear plants can be dispatched to meet electricity
217   demand.

218   In my view, if the energy system relies on wind and solar for over 95% of total electricity
219   generation, as proposed by Jacobson’s Expert Report, the system will not be able to match


      6
       U.S. Energy Information Administration, U.S. Department of Energy, “What is U.S. electricity generation by
      source?”, 2017 preliminary data, lasted updated March 7, 2018. Available online at:
      https://www.eia.gov/tools/faqs/faq.php?id=427&t=3, accessed August 3, 2018. These data indicate that utility-scale
      electricity generation was 6.3% wind and 1.3% solar, while natural gas, coal, and nuclear constituted 32%, 30%, and
      20% of electricity generation, respectively.



                                                                                                                       6
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220   electricity supply and demand at all times.7 Due to intermittency, there will be times when
221   energy supply greatly exceeds energy demand. There will be other times when energy supply
222   will be insufficient to meet demand. This variability is a significant problem. A requirement of
223   technical feasibility is that electricity systems must balance supply and demand at all times.

224   Jacobson et al. (2015b) documents how their “LOADMATCH” model matches electricity supply
225   and demand at all times by relying on three primary strategies: 1) energy storage; 2) demand
226   response; and 3) dispatching of hydroelectric power.

227   Based on my review, detailed in the subsequent sections of this report, I believe that Jacobson et
228   al. rely on unrealistic assumptions in their model, and therefore the results of their simulations
229   are not consequential. Specifically, my analysis indicates that Jacobson’s underlying
230   assumptions about energy storage, demand response, and the dispatching of hydroelectric power,
231   the three primary strategies that his LOADMATCH model uses to match electricity supply and
232   demand at all times, are not simply unrealistic, but also unsubstantiated. This model also was
233   reviewed by Heard et al. (2017); their assessment of the model as follows: “Although this work
234   scored [the highest mark] for a fine-grained timescale simulation, the results of such a simulation
235   are likely to be meaningless because the underlying assumptions are unrealistic” (Heard et al.,
236   2017, page 1130).

237   It is my expert opinion that Jacobson’s LOADMATCH model and the estimates, findings, and
238   conclusions in his Expert Report, which are derived from and based upon his LOADMATCH
239   model, fail to adequately demonstrate that his proposed energy system is both technically
240   feasible and capable of matching electricity supply and demand at all times.

241   4.2.1   Assessment of Jacobson’s Modeling of Energy Storage

242   Jacobson et al. (2015b) documents that LOADMATCH uses several energy storage technologies
243   to align electricity demand with electricity supply. As shown in Figure 2, (reproduced from
244   Jacobson et al., 2015b (page 15062), Jacobson et al. (2015b) rely primarily on hydrogen storage
245   and underground thermal energy storage (UTES) as their storage mechanisms to ensure
246   sufficient supplies of electricity exist to meet demand for electricity at all times. Therefore, I
247   focus my assessment on these two technologies. I summarize my analysis of these systems
248   below, with additional detail provided in Appendices C and D for hydrogen storage and UTES,
249   respectively.
250




      7
        The Executive Summary of Jacobson’s Expert Report states: “Second, averaged over the United States, our
      roadmaps propose that all-purpose U.S. energy in 2050 could be met with ~30.9% onshore wind, ~19.1% offshore
      wind, ~30.7% utility-scale photovoltaics (PV), ~7.2% rooftop PV, ~7.3% concentrated solar power (CSP) with
      storage, ~1.25% geothermal power, ~0.37% wave power, ~0.14% tidal power, and ~3.01% hydroelectric power
      (where virtually all hydroelectric dams exist already)” (pages 2-3). Only the latter four categories, summing to
      4.77%, reflect non-wind, non-solar sources of electricity generation.



                                                                                                                         7
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251   Figure 2. Six-year time series comparison of energy storage changes used to align electricity demand with
252   electricity supply per Jacobson et al. (2015b)




253

254   Source: Jacobson et al., (2015b), Figure 2, Panel (D), page 15062.

255   4.2.1.a. Assessment of Jacobson’s Modeling of Hydrogen Storage

256   There are two essential flaws with hydrogen storage as proposed and modeled in Jacobson et al.
257   (2015b) and Jacobson et al. (2018).8

258          1) Jacobson severely underestimates the cost to operate the proposed hydrogen storage
259             system; and

260          2) Jacobson does not address the costs and barriers associated with transforming the
261             transportation and industrial sectors to hydrogen use.

262   My analysis indicates that Jacobson underestimates costs for the hydrogen storage system by at
263   least a factor of ten, as I detail in Appendix C. In my view, there are three main reasons for his
264   underestimation:

265              The capacity factors9 used by Jacobson in his analysis are overestimated by a factor
266              of approximately eight, which yields an underestimation in hydrogen storage system
267              costs by a factor of over five. Jacobson cites to Jacobson et al. (2015b), which cites to
268              Jacobson et al. (2005), as his source for the cost of hydrogen production. Within the 2005
269              paper, Jacobson calculates hydrogen production costs using a range of capacity factors
270              from 50% to 95%. However, Jacobson uses these hydrogen production costs in Jacobson
271              et al. (2015b), which definitively shows that the capacity factor for the hydrogen storage
272              system can be no greater than 9% (see Appendix C, Issue #3). The lower the capacity
273              factor, the greater the cost per kilogram of hydrogen produced.10 I believe that Jacobson
274              failed to return to his earlier (2005) work to readjust the hydrogen storage system costs to
275              account for the appropriate capacity factors governing the energy system modeled via

      8
          As per Jacobson, both papers serve as the foundation of his Expert Report.
      9
        A capacity factor is the ratio of actual production over a given time horizon, divided by the maximum possible
      (i.e., full capacity) production for the same period.
      10
        As an illustrative example, consider the capital costs of a plant are $1 million dollars a year. At full capacity, the
      plant can output 1,000 units of product per year. If the plant operates at 100% capacity, the per unit capital costs are
      $1,000/unit, but at 10% capacity, the per unit capital costs are $10,000/unit. At lower capacities, there are fewer
      units of production across which to spread the same capital costs.



                                                                                                                            8
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276              LOADMATCH in Jacobson et al. (2015b). This misalignment between his 2005 and
277              2015 analyses results in an underestimation of the hydrogen storage system costs by a
278              factor of 5.26 for Jacobson’s et al (2015) high value case, while the underestimation of
279              his low value case is 1011. Jacobson’s contention on page 4 in his Expert Report that
280              “Our research further finds that the U.S. electric power grid with 100% WWS can stay stable
281              at low cost (similar or less than today’s direct energy cost …” is based in part on this
282              underestimation.

283              The cost of capital used in Jacobson’s analysis is underestimated by a factor of
284              approximately three to four. Jacobson cites to Jacobson et al. (2018), which uses
285              figures of one to three percent as estimates of the cost of capital for hydrogen storage.12
286              In my view, this rate is too low. As explained in section 4.5.1, reasonable values for the
287              cost of capital are 6.2 to 7.7 percent. Benchmarking Jacobson’s stated costs of capital of
288              one to three percent against more realistic values of 6.2 to 7.7 percent reveals that
289              Jacobson underestimates the cost of the hydrogen storage system by a factor of 1.6 for
290              Cases A and C.

291              The multiplier factor applied to the major pieces of equipment in the hydrogen
292              storage system is too small. As described in section 4.5.2, the factored estimation
293              method is a standard methodology for conducting engineering cost estimates. Factors are
294              applied to the capital cost of major pieces of equipment to determine a total project
295              capital cost. In section 4.5.2, I itemize the factors that inform an engineering cost
296              estimate. Briefly, these factors cover installation, supporting facilities, engineering
297              services, contingencies, owner’s costs, and interest during construction. The factors vary
298              by project, but for a chemical process like hydrogen production, factors in the range of 3
299              to 5 are typical (Rudd and Watson, 1968). Jacobson et al. (2018) provides costs for only
300              3 capital items: the electrolyzer, the compressor, and the storage tanks. Jacobson applies
301              only one factor, an “installation factor” of 1.2 to 1.313. I believe that Jacobson fails to
302              include all the other items listed above in his cost estimation. In my view, Jacobson’s
303              failure to include the full suite of relevant cost items results in an underestimation of the
304              hydrogen storage system costs by a factor of 3.0.

305   As shown in Appendix C, my calculations indicate that correcting for these errors and omissions
306   raises the “Case A” hydrogen system cost estimated in Jacobson et al. (2018) by a factor of 11.8.
307   Further, I calculate that this correction corresponds to an increase in the overall energy costs of
308   the entire WWS system estimated in Jacobson et al. (2018) Case A by 49%. In my view,
309   Jacobson severely underestimates the costs, and electricity cost impacts, associated with the
310   hydrogen storage system. Specifically, my calculations do not support Jacobson’s assertion that:
311   “our research further finds that the U.S. electric power grid with 100% WWS can stay stable at
312   low cost (similar or less than today’s direct energy cost …” (Expert Report, page 4).

      11
           Details in Appendix C, Table C-3.
      12
         Jacobson et al. (2015b), which relied on Jacobson et al. (2005), used a range of 6 to 8% for cost of capital. As
      explained in Appendix C, Jacobson et al. (2015b) also underestimated costs, but cost of capital for the hydrogen
      storage system was not an issue.
      13
        Jacobson et al. (2015b) via Jacobson et al. (2005) provides costs for the same three equipment items, but uses no
      factors at all. They do state that the electrolyzer capital cost they give is an installed cost.



                                                                                                                       9
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313   In addition to underestimating the cost to operate the hydrogen storage system, Jacobson omits
314   analysis of the costs downstream of the hydrogen production plant in his Expert Report and
315   supporting papers. Specifically, Jacobson omits: (1) costs associated with infrastructure
316   necessary to transport the hydrogen to the end-user; and (2) costs incurred by end-users to
317   convert their operations from fossil fuels to hydrogen in their operations. Further, Jacobson
318   offers insufficient analysis as to how transformation of the various sectors to hydrogen would
319   occur. Transforming parts of the economy to hydrogen has been proposed for decades, but little
320   progress has been made in the United States; Jacobson’s proposal for the use of hydrogen is
321   theoretical and offers insufficient details to suggest a realistic path forward.

322   4.2.1.b Assessment of Jacobson’s Modeling of Underground Thermal Energy Storage (UTES)

323   UTES is the largest non-hydrogen storage option employed in Jacobson et al. (2015b). I assessed
324   UTES, as proposed by Jacobson et al. (2015b). My assessment indicates that Jacobson fails to
325   adequately demonstrate the practicality and feasibility of UTES on a scale necessary to achieve a
326   100% clean, renewable energy system for all energy sectors by 2050, with about 80% conversion
327   by 2030. In my view, Jacobson fails to adequately document the full suite of costs associated
328   with UTES; and, for costs that Jacobson cites, he fails to adequately demonstrate cost
329   reasonableness.

330   Specifically, my review of Jacobson’s cost analysis of UTES reveals the following flaws:

331        1) Jacobson fails to adequately document the sources of UTES capital costs used in his
332           modeling;

333        2) The capital costs used by Jacobson for UTES are underestimated (see Appendix D for
334           details);

335        3) Jacobson’s “cost of capital” inputs for estimating UTES costs are unrealistically low; and

336        4) Jacobson’s UTES costs rely on inputs based on a “greenfield” or “newbuild” project akin
337           to the Drake Landing Solar Community (DLSC). In reality, existing homes and
338           communities will need to be retrofitted for UTES. In my view, the retrofit of existing
339           homes and communities will be more costly than a “greenfield” or “newbuild” situation,
340           and likely result in the stranding of existing energy infrastructure assets.

341   In my expert opinion, and for reasons I discuss in more detail below, UTES is not a viable option
342   for large-scale energy storage in the manner envisioned by Jacobson in Jacobson et al. (2015b)
343   and Jacobson et al. (2018),14 and by extension in his Expert Report.

344   In his Expert Report, Jacobson cites to Jacobson et al. (2015b), which states on page 15060: “All
345   building air- and water-heating coupled with storage uses underground TES (UTES) in soil.
346   UTES storage is patterned after the seasonal and short-term district heating UTES system at the
347   Drake Landing Community, Canada [Sibbitt et al., 2012].” This assertion indicates that


      14
        The costing methodology for UTES in Jacobson et al. (2018) is identical to that in Jacobson et al. (2015b) with the
      exception of the cost of capital, which was lowered from 3 (1.5-4.5)% to 2 (1-3)%.



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348   Jacobson’s basis for UTES deployment and functionality is the Drake Landing Solar Community
349   (DLSC), a planned community of 52 homes in Canada.

350   Based on this concept, Jacobson assumes that 85% to 95% of all air and water heating in the
351   United States will be realized from energy stored in UTES.15 Achieving this objective requires
352   UTES systems to be retrofitted to tens of millions of homes in the United States. For reference, a
353   picture of DLSC is included below as Figure 3. The picture shows the large area required for
354   solar thermal panels. It also shows a lack of trees in the community, as this would block sunlight.
355   For efficiency, homes in DLSC are spaced closely together. Not pictured, but present, are the
356   144 boreholes in the community that give access to the underground storage reservoir.
357   Figure 3. Photo of the Drake Landing Solar Community




358
359   Source: Sibbitt et al, (2012).

360   Jacobson offers insufficient justification or analysis to support his claim that 85% to 95% of all
361   air and water heating in the United States can be realized from energy stored in UTES. Neither
362   in his Expert Report, nor in his articles underpinning his Expert Report, does Jacobson address
363   questions as to whether DLSC can be replicated on a large scale within the United States.
364   Specifically, Jacobson provides no response to:


      15
        Jacobson et al. (2015b) Table 1, p.15061, Column titled “(4) percent of load that is flexible (F) or coupled with
      TES (S) or used for H2 (H) (%),” all rows titled “Air Heating,” and “Water heating”.



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365           What are the geological requirements for the UTES storage reservoir? What percentage
366           of neighborhoods in the United States can meet these requirements?

367           How can the existing neighborhoods and residential areas be retrofitted or rebuilt to
368           facilitate UTES? How will UTES be implemented in densely-populated neighborhoods,
369           multifamily homes, apartment buildings, and high-rises? How will UTES be deployed in
370           wider neighborhoods with multi-acre lots, or rural communities?

371           Will citizens accept the aesthetics of treeless residential areas with many solar panels?
372           Will existing trees need to be cut down and, if so, what will be the environmental, human
373           health, and climate change-related impacts?

374           What modifications and retrofits will be needed in existing homes to interface with the
375           UTES system? Who will finance and pay for these retrofits? Will retrofits be mandatory?

376   In my view, these issues and questions are not minor, esoteric concerns. Jacobson fails to
377   adequately address these concerns in the papers that serve as the basis of his Expert Report.
378   Specifically, in order to achieve a 100% clean, renewable energy system for all energy sectors by
379   2050, with about 80% conversion by 2030, Jacobson relies on storage, a substantial proportion of
380   which is UTES, to ensure that electricity supply meets electricity demand at all times. In my
381   view, Jacobson fails to address the practicability and feasibility of such large-scale storage in his
382   Expert Report or in the underlying literature that he cites in support of his analysis.

383   In addition to ignoring issues of practicability and feasibility, Jacobson underestimates the costs
384   associated with large-scale deployment of UTES. Notably, DLSC, the example upon which
385   Jacobson relies, was highly subsidized by the Canadian government. “The project added $7.1
386   million (over $136,000 additional per home) to the development’s initial capital cost, which was
387   only feasible due to financial incentives from the federal and provincial governments.”16 In my
388   view, the retrofit cost of $136,000 per home is prohibitively expensive. Jacobson offers no
389   comment on how UTES systems will be financed, or whether a government subsidy cost will be
390   borne by the United States (Federal, States and/or Municipalities) in order to finance myriad
391   similar communities nationwide.

392   In his Expert Report, Jacobson cites to Jacobson et al. (2015b), which estimates UTES cost. As
393   shown in Appendix D, I recalculate the cost of UTES using capital costs and cost of capital
394   inputs that I believe are more appropriate than those used by Jacobson. My recalculation raises
395   Jacobson’s estimated UTES cost nearly sevenfold on a cents-per-kilowatt-hour basis relative to
396   the figure reported in Jacobson et al. (2015b). Based on my recalculation, I estimate a
397   corresponding increase in overall base case energy costs of over 11% from those reported as
398   “2050 total LCOE” in Jacobson et al. (2015b), Table 2, page 15063.

399   In summary, I believe that Jacobson fails to support his argument that UTES can be reasonably
400   and practicably deployed on a large scale in the U.S. And, in my view, Jacobson has
401   underestimated the costs associated with retrofitting the U.S. to UTES.

      16
        “Combining Our Energies: Integrated Energy Systems For Canadian Communities,” Report of the Standing
      Committee on Natural Resources, House of Commons, Canada, pg. 25 (2009).
      http://www.ourcommons.ca/Content/Committee/402/RNNR/Reports/RP3982433/rnnrrp04/rnnrrp04-e.pdf



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402   4.2.2    Assessment of Jacobson’s Modeling of Demand Response

403   The term “demand response” refers to a varied set of mechanisms and behaviors by which
404   electric utilities and customers (electricity users) work to adjust the demand for power. One
405   example is for utilities to offer customers financial incentives to postpone electricity-consuming
406   tasks until periods when demand is lower. Another example is to allow utilities to control certain
407   loads, such as air conditioners or water heaters, to help align electricity supply to electricity
408   demand. By adjusting the demand for power in his model, Jacobson relies on demand response
409   to help ensure grid reliability. Manipulating demand is a key mechanism used by Jacobson to
410   match electricity supply and demand at all times, which is essential to Jacobson’s premise that a
411   100% WWS system by 2050 is technically feasible.

412   In his Expert Report, Jacobson relies on Jacobson et al. (2015b) and Jacobson et al. (2018) as the
413   bases for his assumptions regarding demand response17. The sectors that make up the largest
414   proportion of demand response are transportation and industrial, and these are the focus of my
415   assessment. I reviewed Jacobson et al. (2015a) and Jacobson et al. (2018), and I conclude that
416   Jacobson fails to justify his assumptions about the amount of demand response available, and
417   fails to account for the costs associated with such response. In my view, Jacobson overestimates
418   the amount of demand response available. A summary of my analysis of the transportation and
419   industrial sectors follows.

420   For the transportation sector, Jacobson assumes that 41.4% of the load18 is subject to demand
421   response. Because Jacobson assumes that 43.6% of transportation load goes to hydrogen
422   production for fuel cell vehicles, nearly three-quarters of all electric vehicles are assumed to be
423   flexible in the timing of their fueling19. The time of the greatest surplus electricity in the 100%
424   WWS system is during the solar supply peak. As such, fueling of electric vehicles will need to
425   occur primarily during daylight hours. The feasibility of this fueling structure depends on: (1)
426   whether the American driving public will be able and willing to adhere to this timing; and (2)
427   whether the required infrastructure exists to support fueling this many vehicles at this time of
428   day. Specifically, to charge most electric vehicles in the daytime, when most people work, will
429   require electric charging stations for most parking spaces in most parking garages and lots across
430   the U.S. In his Expert Report, Jacobson does not comment on the practicality of such a large
431   change in infrastructure, nor does he provide insight into what this infrastructure will cost, or
432   who will pay. In addition, Jacobson offers no analysis to support the feasibility of nearly 75% of
433   electric vehicles having flexible fueling schedules that fit with times of excess power generation.
434   He neither offers evidence, nor cites to any studies, to support his assumption that the majority of

      17
        In Jacobson et al. (2015b), demand response is included as part of what is termed “flexible load”, which is defined
      as load that can either be supplied from storage or shifted in time. This shifting in time is demand response.
      Because demand response is aggregated with supply from storage in the paper, one cannot quantitatively determine
      exactly how much demand response is available in each sector.
      18
         Load is a term for devices that draw power from the grid. As used here, it is synonymous with demand. Jacobson
      et. al (2018), p. 243, Note to table 3 indicates: “41.4% of the transportation load [is assumed to be subject to demand
      response].”
      19
         Since 43.6% of transportation load is covered by hydrogen, the 56.3% is left over. If all this was used by electric
      vehicles, then the percent of electric vehicles that have flexible loads are 41.4/56.3 = 73.5%. Jacobson et. al (2018),
      p. 243, Note to Table 3 indicates: “43.6% of the transportation electric load is used to produce, compress, and store
      H2 ahead of its use.”



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435   the American driving public will abide to this schedule. Finally, Jacobson omits the cost for the
436   required infrastructure in his costing of the 100% WWS system.

437   For the industrial sector, Jacobson cites to Jacobson et al. (2015b) and Jacobson et al. (2018),
438   which states: “70% of high-temperature industrial load” is subject to demand response.20

439   Jacobson provides insufficient corroborating evidence to support this assumption. Based on
440   numbers provided in Jacobson et al. (2015b) Table 1, I calculate that this load represents a little
441   over 60% of the total industrial sector.21 Based on my direct professional experience with pulp
442   and paper mills, ammonia plants, chemical plants, refineries, petrochemical plants, and cement
443   plants, I disagree that 60% of the load of the industrial sector can be subject to demand response.
444   Given the capital intensive nature of plants in these industrial sectors, the cost of idling
445   equipment and associated labor limits industry’s ability to alter demand response. Jacobson
446   offers no details supporting his assumptions beyond quoting a National Research Council
447   report22 that states: “In combination with peak-load pricing for electricity, energy efficiency and
448   demand response can be a lucrative enterprise for industrial customers.” Jacobson fails to bridge
449   the divide between this statement and his assumption that over 60% of industrial load can
450   respond to demand. I agree that demand response is an important load balancing tool. However,
451   the utility of demand response is predicated on how much is possible, and at what cost. Jacobson
452   fails to address either in his Expert Report.

453   In summary, I conclude that Jacobson does not justify his assumptions about the amount of
454   demand response available, nor does he account for the associated costs. Further, in my view,
455   Jacobson overestimates the amount of demand response available.

456   4.2.3      Assessment of Jacobson’s Modeling of Hydroelectric Power

457   The water in dams behind hydroelectric plants are a vast reservoir of energy storage. If
458   hydroelectric plants can be dispatched at will, then they are extremely valuable in matching
459   electricity supply and demand at all times. However, there are constraints that limit the
460   usefulness of hydroelectric power’s role in terms of load matching. First, there is an installed
461   capacity that sets the absolute maximum power that hydroelectric can provide at any one time
462   (referred to by Jacobson in his Expert Report as the “peak23 hydropower discharge rate”).
463   Second, there are constraints on the dispatch of hydroelectric dams for a variety of reasons,
464   including environmental concerns and water use issues. These constraints limit the ability to
465   flexibly dispatch hydroelectric power as a load balancing tool.


      20
           This is stated in Jacobson et al. (2018) in the note to Table 3 on page 243, and the Supporting Information on page
      6.
      21
         Per Jacobson et al. (2015b) Table 1, Column “(3) Percent of sector load (%)”, Row “Hi-T/chem/elec procs,”
      87.19% of the industrial sector load appears to be high temperature, chemical, or electrical processes. Multiplying
      87.19% by the 70% of high-temperature industrial load assumed to be subject to demand response per Jacobson et
      al. (2018) yields 61.03%.
      22
        National Academy of Sciences, National Academy of Engineering, National Research Council (2010) Real
      Prospects for Energy Efficiency in the United States (National Academies Press, Washington, DC), p 251.
      23
         While Jacobson uses the term peak hydropower discharge rate in his Expert Report, it is synonymous with the
      term maximum hydropower discharge rate used in Jacobson et al. (2018).



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466   Specifically, Jacobson’s decision to increase the peak hydropower discharge rate in his model
467   (discussed below) has been subject to debate and criticism. In my view, in his models, Jacobson
468   has overestimated the role of hydroelectric power in balancing supply and demand to achieve a
469   100% clean, renewable energy system for all energy sectors by 2050, with about 80% conversion
470   by 2030. Specifically, in my view, Jacobson fails to apply appropriate capacity constraints to
471   address the practical realities of how much and when hydroelectric power can meet energy
472   demand. 24

473   In his Expert Report, Jacobson relies on Jacobson et al. (2015b) and Jacobson et al. (2018) to
474   explain his use of the peak hydropower discharge rate. In Jacobson et al. (2018) page 238,
475   Jacobson writes:
476
477            “In [Jacobson et al. (2015b)], it was not made clear in the text but was evident
478            from Fig. 2b, S4b, and S5b that the maximum possible hydropower discharge rate
479            in the continental U.S. was increased by a factor of ~15 relative to the near-
480            present-day maximum discharge rate by adding turbines without a corresponding
481            change in annually averaged hydropower energy output.”
482
483   Furthermore, Jacobson explains how this constraint is handled in his updated simulations:
484
485             “for North America in Case B, the maximum discharge rate is allowed to
486             increase up to only 2 times the near-present-day value. In Cases A and C, here,
487             zero increases in hydropower turbines are allowed for any region.”
488
489   Finally, Jacobson discusses cost:
490
491            “[Jacobson et al. (2015b)] further neglected the cost of the additional hydropower
492            turbines, which were subsequently calculated as ~3% of total energy costs. Here,
493            for Case B, for North America, they are ~0.32% of the total energy cost due to the
494            lesser increase in the hydropower maximum discharge rate.” (All quotes from
495            Jacobson et al. (2018) page 238.)
496
497   In Jacobson et al. (2018), Jacobson claims that in Jacobson et al. (2015b) the peak hydropower
498   discharge rate was raised by a factor of 15, adding about 3% to total energy costs for the 100%
499   WWS energy system. Jacobson neglected to include this change in energy costs in Jacobson et
500   al. (2015b). In Jacobson et al. (2018), Case B raises the peak hydropower discharge rate by a
501   factor of 2, adding about 0.32% to total energy costs for the 100% WWS energy system, while
502   Cases A and C do not raise the peak hydropower discharge rate.
503
504   I have several concerns regarding the feasibility of Jacobson’s assumption to increase the peak
505   hydropower discharge rate. First, Jacobson has not shown that there is enough room at existing
506   dams. Second, even if sufficient space exists, Jacobson has failed to show that the turbines can
      24
        Ken Caldeira, a scholar with the Carnegie Institution for Science at Stanford University, wrote a detailed blog
      analyzing Jacobson et al. use of hydroelectric power, concluding: “Whether you call failure to impose a suitable
      capacity constraint on maximum hydro generation in each time period a “modeling error” is up to you, but that
      would seem to be an entirely reasonable interpretation based on the available facts.”
      https://kencaldeira.wordpress.com/2018/02/28/mzj-hydro-explainer/amp/



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507   dispatch at those increased rates. In addition, there are myriad factors that restrict discharge
508   rates. In my professional experience, these factors arise from environmental concerns and from
509   competitive uses for the water, such as irrigation. Finally, there is the matter of cost. In Jacobson
510   et al. (2018), Jacobson claims a 3% increase to total energy costs for the 100% WWS energy
511   system when referring to the case presented in Jacobson et al. (2015b). My assessment is that this
512   estimate is too low. In my view, the estimate presented in Clack et al. (2017) of a 24% increase
513   is more realistic, but my experience suggests that even this estimate may be too low. In
514   summary, Jacobson makes assumptions about the possibility of increasing peak hydropower
515   discharge rates, but offers no technical justification. He does not present a single study of an
516   existing dam to show whether this increase is even feasible.
517
518   My conclusions are similar to Clack et al. (2017) regarding Jacobson’s lack of constraints on the
519   dispatching of hydroelectric power:
520
521           “Achievable peak hydropower output is likely to be significantly smaller than the
522           theoretical maximum …. This is because the total output of hydroelectric facilities
523           is limited by overall river flows and further constrained by environmental
524           considerations and other priorities for water use (e.g., navigation, irrigation,
525           protection of endangered species and recreation). These constraints currently
526           prevent all hydroelectric capacity from running at peak capacity simultaneously
527           …. In addition, a portion of U.S. hydropower facilities are “run-of-river” facilities
528           without the ability to store water for on-demand power production behind the
529           dams, and still more facilities have minimum and maximum flow rates imposed
530           for environmental reasons that restrict their operating flexibility. Recent years
531           have seen major environmental initiatives to restrict hydropower output and even
532           remove dams; the courts and political processes have been receptive to these
533           efforts and all indications point to even more restrictions in future.” (Clack et al.,
534           2017, SI, page 3)

535   The dispatch of hydroelectric power is an important mechanism used by Jacobson in his
536   LOADMATCH model to balance electricity supply and demand at all times. Constraints on how
537   hydroelectric power can be dispatched appear to be missing from the model. The net effect of
538   Jacobson over relying on hydroelectric power to balance load, is an underestimation in the need
539   for other storage options, resulting in an underestimation of costs for his 100% WWS energy
540   system and weakening his claim of technical feasibility.
541
542   4.2.4   Assessment of Jacobson’s Modeling of Extreme Conditions

543   To demonstrate an energy system is technically feasible, it must be proved out at extreme
544   weather conditions, because these are the moments at which there is high energy usage, high
545   stress on the performance of energy systems, and therefore, the highest probability of failure.
546   Jacobson’s Expert Report relies on Jacobson et al. (2015b) and Jacobson et al. (2018) as the
547   bases for his opinions. My assessment of Jacobson et al. (2015b) and Jacobson et al. (2018)
548   suggests that simulated testing at extreme conditions was not done by Jacobson. Notably, from
549   Jacobson et al. (2015), page 15061: “The 2050 annual cooling and heating loads (Table 1) are
550   distributed in LOADMATCH each 30-s time step during each month of 2050–2055 in proportion
551   to the number of cooling- and heating-degree days, respectively, each month averaged over the
552   United States from 1949 to 2011.” In fact, Jacobson relies on historically average temperatures


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553   for each month in his model. In my view, the use of these historically average temperatures does
554   not capture extreme weather events, because, among other reasons, smoothing these
555   temperatures over a month’s time horizon eliminates the spikes in temperatures, and the
556   associated spikes in energy demand.
557
558   An example of extreme weather conditions is bitter cold over much of the US for an extended
559   period of time, as occurred during the polar vortex (January 2014) or the cold snap last winter
560   (December, 2017- January 2018). Temperatures were well below average by 10 degrees, 20
561   degrees, or even more in some places.25 The obvious direct effect of lower temperatures is the
562   demand for more heating, as well as strain on the performance of energy systems. For example,
563   the efficiency of heat pumps (see Figure 4 below) is measured by the coefficient of performance
564   (COP), which declines substantially in the cold. At 0oF, a heat pump requires about twice the
565   electricity per unit of heat delivered as that required at 40oF. At subzero temperatures, which
566   were present during these cold snaps, the efficiency degrades even more.
567
568   Figure 4. Net Daily Coefficient of Performance (COP)




569   Source: R.K. Johnson, “Measured Performance of a Low Temperature Air Source Heat Pump”, National
570   Renewable Energy Laboratory Report, page 14 (September 2013). Reproduced from Figure 8. Net daily COP as
571   measured on site is compared to the heat pump’s laboratory-rated efficiency. The laboratory data are established
572   in an environmental chamber, with the heat pump fully warmed up and operating under steady-state conditions.
573   Low Temperature Air Source Heat Pump
574   Battery performance also degrades in cold conditions. Jacobson’s transition to a 100% WWS
575   system by 2050 is predicated on the electrification of the passenger car fleet, which will rely on
576   batteries for sustained performance. Battery performance will be substantially affected in

      25
        For information on the January 2014 polar vortex, see Nick Wiltgen, “Deep Freeze Recap: Coldest Temperatures
      of the Century for Some,” weather.com, January 10, 2014, available online at:
      https://weather.com/storms/winter/news/coldest-arctic-outbreak-1990s-midwest-south-east-20140103. For
      information on the 2017-2018 North American cold wave, see “Record-breaking cold sweeps US in first days of
      2018,” Christian Science Monitor, January 2, 2018, available online at:
      https://www.csmonitor.com/USA/2018/0102/Record-breaking-cold-sweeps-US-in-first-days-of-2018.


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577   extreme weather conditions. Specifically, more electricity will be required for each mile traveled
578   during such conditions. Based on the materials available to me, there is no indication that these
579   types of feedbacks are simulated in Jacobson’s model.
580
581   In summary, Jacobson, did not run simulations of extreme conditions in LOADMATCH. In
582   addition, LOADMATCH is static; it does not automatically adjust the performance of different
583   components of Jacobson’s proposed energy system for changes in meteorological conditions. I
584   believe that without correctly simulating and testing for extreme weather conditions in
585   LOADMATCH, Jacobson cannot claim that the 100% WWS energy system matches electricity
586   supply and demand at all times, which is an essential requirement for a “technically feasible”
587   energy system.
588
589   4.2.5 Summary: Jacobson fails to demonstrate that his proposed energy system can match
590   electricity supply and demand at all times, a requirement of technical feasibility.

591   Intermittency will be a major challenge to any energy system that relies heavily on intermittent
592   renewable energy sources, such as Jacobson’s 100% WWS energy system. Properly functioning
593   electricity systems must match demand with supply at all times. Jacobson proposes that energy
594   storage, demand response, and dispatching of hydroelectric power solve the intermittency
595   problem for his 100% WWS energy system. However, in my expert opinion, Jacobson fails to
596   adequately demonstrate the technical feasibility of his proposed system because his assumptions
597   regarding energy storage, demand response, and hydroelectric power dispatch are unrealistic,
598   unsubstantiated, or both. Specifically, I find that:

599           Hydrogen Storage. Jacobson’s costs for the hydrogen storage system are underestimated
600           by at least a factor of ten and the costs and barriers for transforming the needed to parts of
601           the transportation and industrial sectors to hydrogen use are not addressed.

602           Underground Thermal Energy Storage (UTES). Jacobson fails to adequately
603           demonstrate the practicality and feasibility of UTES on the scale envisioned. Beyond
604           matters of practicality, Jacobson fails to adequately document the costs associated with
605           UTES and underestimates those cost by at least a factor of 7.

606           Demand response. Jacobson does not provide sufficient justification for his assumptions
607           about the amount of demand response available nor does he account for its cost. Further,
608           he substantially overestimates the amount of demand response available.

609           Dispatching of hydroelectric power. Jacobson makes assumptions about the possibility
610           of increasing maximum hydropower discharge rates, but offers no technical justification;
611           nor does he present even a single study of an existing dam to show whether this increase
612           is even feasible. There is no indication that Jacobson acknowledges constraints on the
613           dispatch of hydroelectric power, let alone incorporated them into his model.

614           Simulation of extreme weather conditions. There is no indication that Jacobson
615           simulates the ability of his proposed energy system to match electricity supply and
616           demand during extreme weather conditions, at which times there is the highest
617           probability of failure.



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618   Given these flaws, it is my expert opinion that, contrary to what is stated in his Expert Report,
619   Jacobson has neither demonstrated that his 100% WWS energy system is technically feasible,
620   nor that the U.S. electric power grid with 100% WWS can stay stable at direct energy costs
621   similar or less than today’s costs.

622   4.3      Finding #3: Jacobson’s proposal for long-distance electricity transmission is
623            unsubstantiated, fails to illustrate or validate its technical feasibility, and
624            underestimates its costs.

625   Jacobson’s proposed energy system considers the United States (excluding Alaska and Hawaii)
626   as a whole. Given that weather conditions will vary from region to region and State to State,
627   long-distance electricity transmission infrastructure is necessary to move generated and stored
628   electricity in one region to another to ensure that there is always adequate supply to meet
629   demand, regardless of local conditions. In his Expert Report on page 2, Jacobson states that: “A
630   100% WWS system would also require … an expanded transmission and distribution system.”
631   Based on my analysis of this component of Jacobson’s modeled 100% WWS system, I conclude:

632         1) The level of detail supplied by Jacobson is inadequate,

633         2) Jacobson does not address critical issues regarding siting and permitting,

634         3) Jacobson is silent on policy and governance issues regarding the grid, despite proposing a
635            system that likely is incompatible with the current governance of the grid, and

636         4) Jacobson substantially underestimates the costs associated with an expanded transmission
637            and distribution system.

638   I summarize the bases for my opinion on these issues below, and provide additional details in
639   Appendix E.

640   First, the level of detail supplied by Jacobson for his proposed long-distance transmission system
641   is inadequate. Jacobson’s proposal is highly conceptual, and falls short on details. Specifically,
642   Jacobson does not present any system designs or simulations of the long-distance transmission
643   grid. Jacobson’s analysis appears to be based on two primary assumptions: (1) the percent of
644   wind and solar requiring extra transmission; and (2) the length of the extra transmission lines.
645   Relying on these parameters, Jacobson assumes in his LOADMATCH model that all generated
646   electricity can be distributed freely around the country, with no constraint or difficulty.

647   Further, Jacobson does no modeling or simulations of the transmission system to:

648            Test or validate that his primary assumptions regarding the percent of wind and solar
649            generation requiring extra transmission, or the length of the extra transmission lines, are
650            valid;




                                                                                                             19
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651              Confirm that congestion26 on the grid will not pose a problem in his proposed energy
652              system; and

653              Validate his assumed 40 percent capacity factor (see Appendix E, Issue #5).

654   Second, Jacobson is silent on the challenges associated with siting and permitting new
655   transmission lines. A recent Technology Review article commented on current proposals for new
656   long-distance transmission lines by noting: “all of these [proposals] are moving through the
657   approvals process at a dawdling pace.”27 One recent example of the types of challenges inherent
658   to the siting and permitting of new transmission lines is the Northern Pass project, a 192-mile
659   transmission line project to bring hydroelectric power from Canada to New Hampshire and New
660   England.28 According to the Department of Energy,

661              “Since it was first proposed in 2010, the $1.6 billion Northern Pass project has
662              been subject to multiple layers of federal and state government permitting
663              regulations, a nearly 4,000 page Environmental Impact Statement, and adjusted its
664              planned route in response to input from local communities as well as federal and
665              state permitting agencies.”29

666   In early 2018, the state of New Hampshire rejected the project’s permit, jeopardizing the entire
667   project after eight years of development.30 Jacobson ignores these types of difficulties and
668   challenges in his Expert Report. At a minimum, addressing such issues adds to project costs and
669   slows down implementation timelines. In the worst case, a failure to resolve such issues may
670   result in project cancellation.

671   Third, Jacobson’s analysis fails to acknowledge the current realities of the U.S. energy grid.
672   Today, the U.S. grid is divided into three distinct interconnects, with essentially no electricity
673   moving between them. Within these interconnects, the grid is subdivided into Independent
674   System Operators (ISOs) established by the Federal Energy Regulatory Commission (FERC).
675   The ISOs coordinate, control, and monitor the operation of the grid within their geographical
676   jurisdictions.

677   Jacobson’s LOADMATCH model ignores the existence of these interconnects, and associated
678   complexities. Instead, Jacobson assumes that electricity moves freely between and across
679   interconnects, with no mention of policy or governance concerns. Further, Jacobson neither
680   comments on whether the current system, with three interconnects and multiple ISOs is
681   compatible with his proposed 100% WWS system, nor addresses the costs and complexities
      26
        Congestion in transmission lines is similar to highway congestion. Like a highway, there is a capacity of the lines
      to transmit electricity. If the load is too large, only a fraction will be transmitted, opening the possibility that
      demand will not be satisfied. There are models available to simulate the operation of transmission lines and identify
      areas that could have congestion. LOADMATCH does not do this.
      27
        James Temple, “How to Get Wyoming Wind to California, and Cut 80% of U.S. Carbon Emissions,” Technology
      Review 121 (2): 16-17 (2018).
      28
           See http://www.northernpass.us/project-overview.htm for additional information on the Northern Pass project.
      29
        https://energy.gov/articles/department-energy-approves-presidential-permit-northern-pass-transmission-line-
      project
      30
           Jon Chesto and David Abel, “N.H. rejects Canada-Mass. power lines,” Boston Globe, February 2, 2018.



                                                                                                                          20
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682   associated with transitioning these interconnects to his proposed system. In my expert opinion,
683   current grid governance is incompatible with Jacobson’s proposed 100% WWS system, and
684   would require significant modifications to function within Jacobson’s model. Jacobson is silent
685   on the changes likely to be required, how long such changes will take to implement, and the
686   political feasibility of such changes.

687   In addition to the aforementioned conceptual issues, my review of Jacobson’s underlying
688   calculations suggests that he has substantially underestimated the costs for long-distance
689   transmission. As I detail in Appendix E, I believe that Jacobson’s modeling underestimates costs
690   for long-distance transmission by at least a factor of four, and it could be much higher. I
691   summarize two of the biggest issues below:

692           Jacobson’s estimates for the capital costs associated with long-distance transmission
693           infrastructure are questionable. As described in Appendix E, I compare Jacobson’s
694           capital cost estimates with estimates from recent projects, including the Northern Pass
695           project. My analysis reveals a material discrepancy that compromises the reliability of
696           Jacobson’s cost estimates. Specifically, when compared with the Northern Pass project,
697           Jacobson’s capital cost estimates are underestimated by an order of magnitude (i.e., a
698           factor of 10 or more).

699           Jacobson’s calculations underestimate costs when converting the capital costs of long-
700           distance transmission projects to electricity costs. As I described for other parameters of
701           Jacobson’s analysis, in my view, these underestimates share similar causes: (1) the
702           capacity factor used by Jacobson appears too high; (2) the cost of capital factor used by
703           Jacobson appears too low; and (3) it appears that Jacobson omits operations and
704           maintenance (O&M) costs associated with long-distance transmission lines.

705   In my expert opinion, Jacobson fails to adequately define his transmission system, and he does
706   not offer any modeling to show that his proposed system will work as advertised. Further,
707   Jacobson does not address issues regarding siting and permitting, and he is silent on policy and
708   governance issues regarding the U.S. energy grid. Finally, as with the storage technologies,
709   Jacobson underestimates the costs associated with an expanded transmission and distribution
710   system.

711   In my view, Jacobson has failed to justify the assumption in his LOADMATCH model that
712   electricity can be freely moved around the country. Notably, if there are constraints on the
713   ability for electricity to move freely across the U.S. energy grid, then greater importance is
714   placed on effective storage and/or demand response techniques. If electricity cannot, or does not,
715   move freely across regions of the United States, then additional storage and/or demand response
716   will be required. As discussed above, Jacobson fails to evince effective storage or demand
717   response in his Expert Report. The collective effect of these failures in transmission, storage,
718   and demand response is that energy demand will not match energy supply at all times, and the
719   energy system will fail.




                                                                                                             21
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720   4.4    Finding #4: Jacobson ignores the necessary provision of essential grid services, such
721   as frequency control, operating reserves, and grid security, in his modeling and cost
722   estimates.

723   Energy grids are complex mechanisms that require many components to ensure that electricity
724   flows, matching supply with demand. Many grid services are required to prevent blackouts and
725   avoid damage to machinery attached to the grid. Jacobson omits consideration of these services
726   from his analyses.

727   Frequency control31 is essential for the grid because poor frequency control will damage
728   machinery, result in suboptimal performance, and potentially disrupt the whole grid. Wind and
729   solar power are asynchronous generators. At present, systems with high penetrations of
730   asynchronous generators are unproven to maintain good frequency control. In his Expert Report,
731   Jacobson cites to Jacobson et al. (2015b) and Jacobson et al. (2018) as the bases for his proposed
732   energy system. My assessment of both papers indicates that neither Jacobson et al. (2015b) nor
733   Jacobson et al. (2018) include any analysis or modeling that demonstrates that the proposed
734   100% WWS energy system can maintain frequency control.

735   Although a statement in the supplemental information to Jacobson et al. (2015b) contains a list of
736   components that potentially can assist with frequency control, such as energy storage and
737   demand response, as I discuss above, there is no analysis or modeling performed that
738   demonstrates that these components are sufficient for effective frequency control in the proposed
739   100% WWS system. As a result, Jacobson’s analyses are insufficient to demonstrate the
740   technical feasibility of this aspect of his proposed energy system.

741   With regard to the grid, “operating reserves” refer to generating capacity available to meet
742   electricity demand in the case of disruptions. Operating reserves are essential to prevent
743   disruptions in energy supply. Because wind and solar are intermittent power sources, operating
744   reserves are of heightened importance given the uncertainty of wind and solar generation. In my
745   view, LOADMATCH and Jacobson’s analyses fail to account for this key aspect of grid
746   functionality. Other scholars, including Clack et al. (2017) support this opinion, concluding:

747           “…the LOADMATCH model does not provide the provision of operating
748           reserves necessary to maintain reliability in the case of unplanned outages of
749           transmission lines and generation or storage facilities and errors in forecasted
750           wind and solar output and demand. Studies of existing wind and solar projects
751           and experience in power systems with growing shares of variable renewable
752           resources demonstrate that solar and wind energy forecast errors can be
753           significant: for example, errors related to variable output caused by cloud cover
754           and other meteorological conditions that have been documented at coastal and
755           inland solar PV and CSP plants in California.” (Clack et al, 2017, supporting
756           information, page 11)



      31
        The US grid operates on alternating current (AC) power. AC power is transmitted as sine waves; the frequency is
      the number of cycles per second of these sine waves. In the US, the grid operates at 60 cycles per second, also
      called 60 hertz or 60 Hz. Frequency control is required to make sure that the grid operates at the proper frequency.



                                                                                                                       22
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757   In my expert opinion, Jacobson’s omission of considerations for operating reserves both
758   underestimates the costs of his proposed energy system and renders his analysis inadequate to
759   demonstrate its feasibility.

760   Lastly, grid security is a top priority of the U.S. Department of Energy and is an identified
761   vulnerability for attacks by foreign agents.32 Jacobson et al. (2015b) on page 12 of the supporting
762   information note with regard to security only that: “Resiliency and security are lower priority
763   elements but are nevertheless topics of interest as well.” These “lower priority elements” do not
764   appear to be modeled by Jacobson in Jacobson et al. (2015b). In my expert opinion, grid security
765   is essential to grid operation – one cannot claim that an energy system is technically feasible and
766   reliable without rigorous analysis of that system’s security and resiliency to disruption and
767   attack.

768   4.5      Finding #5: Jacobson’s Expert Report and underpinning analyses do not leverage
769            best practices in cost estimation, leading to a significant underestimation of costs.

770   My assessment of Jacobson’s Expert Report and the sources that underpin its estimates and
771   conclusions reveals a pattern by Jacobson of not conforming to best practices in cost estimation.
772   It is my view, this pattern results in costs being substantially underestimated.

773   I identify the following repeated flaws and errors, which are cumulative, made by Jacobson33:

774            The cost of capital used by Jacobson throughout his analyses is consistently,
775            unrealistically low. I conclude that, as a result of this analytic flaw, Jacobson
776            consistently underestimates costs by a factor of 2 to 4.

777            Jacobson focuses his cost estimation on the major equipment items, but omits other
778            significant project costs. I conclude that, as a result of this analytic flaw, Jacobson
779            consistently underestimates costs by a factor of 3 to 5.

780            Jacobson’s choice of capacity factors is erroneous in some instances and undocumented
781            in some others. For example, I conclude that, as a result of these analytic flaws, Jacobson
782            underestimates costs for the hydrogen storage system by a factor greater than 8.

783            Jacobson fails to index costs for the hydrogen storage system and long-distance
784            transmission system.

785            Jacobson does not consider the macroeconomic impacts of an accelerated program to
786            transform the United States energy systems. These impacts will result in much higher
787            costs for all parts of the energy system.

788   The effect of these flaws are cumulative, as shown for the example of the hydrogen storage
789   system in Appendix C, Table C-5. I discuss each of these flaws in more detail below.

      32
        Earlier this year, DOE launched the Office of Cybersecurity, Energy Security and Emergency Response to deal
      with grid security issues. See http://www.insidesources.com/time-doe-lead-electric-grid-security/.
      33
        The first and last bullets applies to all technologies costed – generation, storage, transmission, etc. The other three
      bullets apply primarily to non-generation technologies.



                                                                                                                            23
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790   4.5.1 Jacobson’s Modeling of the Cost of Capital

791   In my view, the cost of capital used by Jacobson throughout his analyses is consistently,
792   unrealistically low. Jacobson appears to confuse the discount rate with the cost of capital. While
793   the discount rate is related to, and may affect, the cost of capital, they are distinctly different
794   parameters. The discount rate describes the time value of money.34 Whereas, the cost of capital is
795   project-specific and describes the interest rate (or financing cost) that must be paid to raise
796   capital to pay for a specific project. Most capital projects are financed with a combination of debt
797   (loans) and equity (owner investment); in general, the cost of capital is expressed as a weighted
798   average of the cost of debt and equity.

799   In the table below, I summarize cost of capital figures from Lazard (2017), a source commonly
800   used by industry practitioners. The first column reflects cost of capital figures used by Lazard
801   (2017) in its levelized cost of electricity (LCOE) analyses. The second column reflects
802   alternative cost of capital figures suggested by Lazard (2017) as being potentially more prevalent
803   for North America.

                                                                                 Potentially More Prevalent
                                                     Used in Lazard’s              for North America as
            Cost of Capital Parameter                LCOE Analysis                  suggested by Lazard
           After-Tax Weighted Average
                                                            7.7%                              6.2%
           Cost of Capital
           Cost of Equity                                   12.0%                             10.0%
           Cost of Debt                                      8.0%                              6.0%
804

805   As indicated in the table above, a reasonable range for an after-tax weighted average cost of
806   capital for North America is between 6.2% and 7.7%. In my view, these are the appropriate
807   parameters to use when assessing the cost impacts of financing capital changes to the U.S.
808   electricity system. By comparison, the two published papers cited by Jacobson as forming the
809   basis for his Expert Report, Jacobson et al. (2015b) and Jacobson et al. (2018), rely on a stated
810   “discount rate” of 3% and 2%, respectively.

811   In his analyses, Jacobson does not differentiate between the discount rate and the cost of capital.
812   In so doing, Jacobson ignores the fact that a discount rate and a cost of capital are different. In
813   Jacobson et al. (2018), Jacobson justifies his use of a low discount rate as an intergenerational
814   discount rate. In my view, it is not appropriate to use an intergenerational discount rate to
815   calculate the financing cost associated with raising capital to fund an infrastructure project. To
816   fund a project similar to those contemplated by Jacobson in his Expert Report, one must be
817   prepared to pay a rate commensurate with the prevailing cost of capital at the time the project is
818   undertaken. In my view, Jacobson’s interchangeable use of discount rates with cost of capital
819   rates is incorrect; and, in so doing, Jacobson substantially underestimates costs throughout his
820   analyses. As a result, I believe that Jacobson fails to support his contention that a transformation
821   of the U.S. energy sector to 100% WWS by 2050 is economically feasible.

      34
        The time value of money refers to the premise that a dollar today is worth more than a dollar tomorrow, by virtue
      of the ability to invest today’s dollar and realize a financial return on that investment.



                                                                                                                     24
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822      In my view, Jacobson further underestimates costs by using relatively long project lifetimes.
823      Jacobson’s use of longer lifetimes effectively reduces the annual capital charges of a project, by
824      extending the period over which the project is to be funded. When costing projects, standard
825      industry practice involves the use of economic lifetimes, which are notably shorter than the
826      project lifetimes used by Jacobson. For example, in Jacobson et al. (2018) Table S2, project
827      lifetimes range from 30 to 85 years. As a measure of comparison, Lazard (2017) uses a standard
828      project lifetime of 20 years. The table below compares annual capital charges across differential
829      assumptions for cost of capital and project lifetimes. (For a derivation of the annual capital
830      charge, see Equation 2 in Appendix E.)

                                Lazard:         Lazard: More          Jacobson et al.        Jacobson et         Jacobson et al.
                                 LCOE            Prevalent for         (2015b): 30-         al. (2018): 30-        (2018): 85-
      Parameter                 Analysis        North America          year lifetime         year lifetime        year lifetime
      Cost of capital             7.7%               6.2%                 3.0%                    2.0%                2.0%
      Project lifetime             20                 20                    30                     30                  85
      Annual capital
                                  10.0%               8.9%                  5.1%                  4.5%                 2.5%
      charge
831

832      As illustrated in the table above, annual capital charges under Jacobson’s cost of capital and
833      project lifetime assumptions are underestimated by a factor of two to four relative to industry-
834      standard assumptions from Lazard (2017). In my opinion, this underestimation is substantial and
835      undermines Jacobson’s contention on page 4 in his Expert Report that “Our research further finds
836      that the U.S. electric power grid with 100% WWS can stay stable at low cost (similar or less than
837      today’s direct energy cost …”.

838      4.5.2. Estimating Total Capital Requirement
839
840      An important principle in engineering cost estimation is correctly identifying the capital
841      requirements associated with the design, construction, and operation of an engineered system.
842      Reliably applying engineering cost principles is essential to determine whether a proposed
843      engineered system is technically and economically feasible. In my experience, determining
844      whether a project is feasible will inform whether sufficient financing exists to move forward. I
845      believe that Jacobson, when costing certain proposed changes to the U.S. energy system, errs by
846      assessing costs associated only with major capital equipment items. In so doing, Jacobson fails
847      to accurately apply generally accepted principles in engineering cost estimation, yielding results
848      that are not reliably supported.
849
850      Typically, in my experience, practitioners use the “factored estimate” approach35 to estimate the
851      capital requirements, and, by extension, the financing needs, of a project. The first step in this
852      approach is to itemize and cost the major equipment items. Then, factors are applied to adjust
853      this estimate to account for other project-related costs. By methodically building up these layers
854      of costs, one arrives at the “Total Capital Requirement;” this is the value that must be financed
855      for a project to move forward.


         35
              See the classic textbook, Rudd and Watson (1968), as well as a more recent paper, Rubin et al. (2013).



                                                                                                                           25
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856   For example, as an engineering practitioner, I begin with the costs of the major equipment items
857   and apply factors to account for labor, and items such as piping, instrumentation, insulation,
858   foundations, buildings, structures, fireproofing, electrical, painting, and clean up to arrive at the
859   “Bare Erected Costs.” Then, using the subtotal of bare erected costs, I add estimates for
860   engineering services, as well as process and project contingencies to arrive at an estimate of
861   “Total Plant Costs.” Next, I add to the estimate of total plant costs, an estimate of one-time
862   owner’s costs, including but not necessarily limited to the cost of feasibility studies, surveys,
863   land, insurance, permitting, finance transaction costs (e.g., debt financing costs). This results in
864   “Total Overnight Costs.” Finally, adding in “Interest During Construction” yields the “Total
865   Capital Requirement.”
866
867   In my view, Jacobson narrowly focuses his cost estimation only on major capital equipment
868   items, excluding cost parameters that are generally accepted by engineering practitioners as
869   necessary to assess the total cost of designing, constructing, and operating a system. Although
870   the ratio of total project costs to capital equipment costs tends to vary by project, in my
871   professional experience, this ratio tends to be in the range of 3 to 5. My opinion is supported by
872   Rudd and Watson (1968). My analysis of the data presented by Jacobson, and the cost
873   estimation methods that he applies, indicate that Jacobson has not reliably and accurately
874   accounted for all of the costs likely to result from his proposed changes to the U.S. energy
875   system. In the case of the hydrogen storage system, I observed that Jacobson uses a total project
876   cost to capital equipment cost ratio of only 1 to 1.3, which is substantially less than that affirmed
877   by experts in engineering cost estimation.
878
879   By ignoring the full suite of project costs necessary to transition the U.S. energy system, I
880   estimate that in certain cases Jacobson is accounting only for approximately 20 to 33% of total
881   capital costs, and by extension is substantially underestimating the true cost of his proposed
882   changes to the U.S. energy system.
883
884   4.5.3. Determining Capacity Factors
885
886   A capacity factor is the ratio of actual production over a given time horizon, divided by the
887   maximum possible (i.e., full capacity) production over that period. A capacity factor informs
888   how effective one is in the use of the capital put into a project. For example, if a power project
889   costs $1,000/kW and the annual capital charge is 10%, then the annual capital costs are
890   $100/kW/yr. There are 8,760 hours per year. So, if the capital is used 100% of the time (i.e.,
891   capacity factor of 1), the capital component of the costs would be 1.14¢/kWh36. However, if the
892   capital is used only 50% of the time, then the cost would double to 2.28¢/kWh. A capacity
893   factor of 10% yields a cost of 11.4¢/kWh. Therefore, accurate costing is predicated on correct
894   capacity factors.
895
896   As previously discussed in section 4.2.1a, I believe that Jacobson erroneously used a capacity
897   factor for hydrogen production that is more than eight times too large. In my view, this error is
898   characteristic of a lack of attention to detail. For example, the capacity factor for hydrogen
899   production is easily calculated from Jacobson’s LOADMATCH simulations (see Appendix C,
900   Issue #3). Specifically, the system load for hydrogen production is 180.2 GW, when averaged

      36
           $100 kW/yr/(100%*8760hrs/yr) =$0.0114/kWh=1.14¢/kWh



                                                                                                             26
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901   over the year. The maximum load is about 2,000 GW. In my professional experience, one
902   engineers a system for the maximum load, plus a safety factor. For this example, in my
903   professional experience, a typical safety factor of 15% is reasonable. Based on these parameters,
904   the size of the hydrogen production system is 2,300 GW. Therefore its capacity factor is 180.2
905   GW divided by 2300 GW or 7.8%. Even if we did not include a safety factor, the capacity factor
906   would be 9% (i.e., 180.2/2000). Jacobson uses a capacity factor of 72.5%. As I note above, the
907   lower the actual capacity factor, the greater the cost of electricity. Based on my analysis, I have
908   similar concerns about the capacity factor used by Jacobson in the long-distance transmission
909   system, and believe that Jacobson has overestimated his capacity factor for long-distance
910   transmission (see Appendix E).
911
912   In my view, in both cases, Jacobson does not conduct the type of analysis that I would expect as
913   a practitioner in the field to determine reasonable capacity factors.
914
915   4.5.4 Indexing Year Dollars
916
917   In his Expert Report, Jacobson cites to Jacobson et al. (2015b) and Jacobson et al. (2018), both
918   of which report results in 2013 US dollars. My assessment of these supporting materials indicate
919   that Jacobson made the following errors, which lead to an underestimation of capital costs:
920
921        1) The hydrogen storage system costs were excerpted from Jacobson et al. (2005) in 2004
922           US dollars, and renamed 2013 US dollars in Jacobson et al. (2015b) with no adjustments
923           (see Appendix C, Issue #2).

924        2) The transmission costs were excerpted from Delucchi and Jacobson (2011) in 2007 US
925           dollars and renamed 2013 US dollars in Jacobson et al. (2015b) and Jacobson et al.
926           (2108) with no adjustments (see Appendix E, Issue #1).

927
928   4.5.5 Accounting for Macroeconomic Impacts
929
930   In my professional experience, engineering practitioners cannot design, construct, and operate
931   systems in a vacuum. In fact, I often collaborate with economists to ensure that the
932   macroeconomic impacts of an engineered system are appropriately accounted for when modeling
933   transformations to the U.S. energy system. Integrated Assessment Modelling (IAM) is used in
934   the environmental engineering field to ensure that the institutional knowledge of multiple
935   disciplines are integrated to provide a balanced assessment of potential impacts of an engineered
936   system. My work on how to incorporate carbon capture and storage technologies into IAM is a
937   representative example of this approach37.

938   The scope of changes proposed by Jacobson for his 100% WWS system is unprecedented both in
939   terms of magnitude and in terms of timing (see section 4.1). In my view, adopting Jacobson’s
940   approach will raise demand for a wide assortment of commodities, goods, and services. Labor,
941   steel, and rare earth elements are just a few of examples from a longer list. Absent a

      37
         See, for example, McFarland, J.R.and H.J. Herzog, "Incorporating Carbon Capture and Storage Technologies in
      Integrated Assessment Models," Energy Economics 28: 632-52 (2006).



                                                                                                                 27
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942   countervailing surge in supply, increased demand to achieve the immediate scalability
943   envisioned by Jacobson will result in substantial price increases for these commodities, goods,
944   and services. Jacobson errs in his analysis by neither integrating changes in demand (and
945   associated price increases), nor addressing constraints on supply, in his modelling.

946   As a result, Jacobson underestimates the true cost of transitioning from a predominantly fossil
947   fuel-based energy system to a 100% clean, renewable energy system for all energy sectors by
948   2050, with about 80% conversion by 2030. In addition, he has failed to apply accepted
949   macroeconomic principles in his analysis of whether the “U.S. electric power grid with 100%
950   WWS can stay stable at low cost (similar or less than today’s direct energy cost…” (Jacobson
951   Expert Report, page 4).

952   5.      Conclusions

953   Jacobson’s proposed energy system is focused on wind, water, and solar technologies for
954   electricity generation, to the exclusion of nuclear power, carbon capture and storage (CCS), and
955   biomass generation. Others have also proposed all renewable electricity systems; Heard et al.
956   (2017) evaluated 24 studies proposing 100% renewable electricity systems, including that
957   proposed in Jacobson et al. (2015b). Heard et al. (2017) conclude:

958           “None of the 24 studies provides convincing evidence that these basic feasibility
959           criteria can be met…(Abstract) This desire to push the 100%-renewable ideal
960           without critical evaluation has ironically delayed the identification and
961           implementation of effective and comprehensive decarbonization pathways. We
962           argue that the early exclusion of other forms of technology from plans to
963           decarbonize the global electricity supply is unsupportable, and arguably reckless.”
964           (page 1130)

965   Intermittent renewables pose major challenges for electricity systems because their generation is
966   controlled by nature, not by the operators of the electricity system. As such, it is critical to have
967   technically feasible, cost-effective storage options to supply electricity to satisfy demand when
968   the sun is not shining and the wind is not blowing. These options are not commercially available
969   today at large-scale. Jacobson proposes some possibilities, such as hydrogen storage or
970   underground thermal energy storage, but they are unproven and Jacobson does not provide an
971   adequate analysis to show they are either technically feasible or cost-effective. In his Expert
972   Report, page 19, Jacobson states:

973           “IPCC (2014) further states that, with high penetrations of renewable energy
974           (RE), nuclear and CCS are not efficient (Section 7.6.1.1), “…high shares of
975           variable RE power…may not be ideally complemented by nuclear, CCS,...””

976   The reason for this is the intermittency of renewal sources result in lowering the capacity
977   factors of nuclear and CCS, driving up their costs. However, the exact same
978   phenomenon impacts all capital intensive systems in the electricity system, including
979   energy storage technologies. Jacobson claims his storage technologies can be cost
980   effective, but as documented in this report, he underestimates their capital costs, uses
981   unrealistically high capacity factors, and uses unrealistically low cost of capital. It is




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 982   ironic that part of his reasoning for rejecting CCS and nuclear technologies applies
 983   equally well to rejecting his options for energy storage.

 984   Jacobson’s analysis of the mechanisms beyond energy storage that are used to match supply and
 985   demand at all times is also flawed.

 986           Jacobson substantially overestimates the amount of demand response available. He does
 987           not provide sufficient justification for his assumptions about the amount of demand
 988           response he assumes nor does he account for its cost.

 989           Jacobson makes assumptions about the possibility of increasing maximum hydropower
 990           discharge rates, but offers no technical justification; nor does he present even a single
 991           study of an existing dam to show whether this increase is even feasible. There is no
 992           indication that Jacobson acknowledges constraints on the dispatch of hydroelectric
 993           power, let alone incorporated them into his model.

 994   Electricity must be effectively moved from where it is generated to where it is used. Jacobson’s
 995   simulations assume that new long-distance transmission lines will solve this problem. However,
 996   his proposal provides inadequate details and contains no modeling or simulation to demonstrate
 997   that the proposed long-distance transmission framework will work. Further, Jacobson is silent on
 998   key issues regarding long-distance transmission, such as siting, permitting, and governance.

 999   Grid services such as frequency control, operational reserves, and grid security are essential to a
1000   properly-functioning energy system. Jacobson’s modeling and simulations pay little attention to
1001   these concerns, and he offers no analysis to support the ability of his proposal to satisfy these
1002   essential needs.

1003   Jacobson reports Total LCOE (¢/kWh all energy) for his 100% WWS systems in Jacobson et al.
1004   (2015b) in the range of 8.5-15.4¢/kWh, with an average of 11.37¢/kWh; and in Jacobson et al.
1005   (2018), Jacobson reports point estimates of 10.51¢/kWh (Case A), 10.09¢/kWh (Case B), and
1006   10.62¢/kWh (Case C). These cost estimates are not believable, because they fail to conform to
1007   best practices in cost estimation, including but not limited to modeling the cost of capital,
1008   estimating total capital costs, determining capacity factors, indexing year dollars, and accounting
1009   for macroeconomic impacts. In a more rigorous assessment, I would not be surprised to see them
1010   exceed 50¢/kWh.

1011   Jacobson’s proposed timelines for building, installing, and deploying the necessary facilities and
1012   infrastructure to transition to his proposed energy system are unrealistic and fail to address
1013   myriad real-world considerations that render his proposal infeasible.

1014   As a result of my analysis, I take exception to the overriding conclusions from the Expert Report
1015   of Mark Z. Jacobson, dated April 6, 2018, that state:

1016           “I conclude … that it is both technically and economically feasible to transition
1017           from a predominantly fossil fuel-based energy system to a 100% clean, renewable
1018           energy system for all energy sectors by 2050, with about 80% conversion by
1019           2030…” (page 2)

1020   and


                                                                                                              29
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1021           “Our research further finds that the U.S. electric power grid with 100% WWS can stay stable
1022           at low cost (similar or less than today’s direct energy cost …” (page 4)
1023
1024   In my expert opinion, Mark Jacobson has failed to adequately support these statements because he:
1025
1026            Relies on insufficient and/or flawed facts or data, including but not limited to the
1027            timeline for transition to a 100% WWS system, the amount of demand response
1028            available, the assumptions regarding dispatching and expanding hydropower, and the
1029            costs of UTES storage and long distance transmission lines.
1030
1031            Does not use reliable methods for key aspects of his proposed solution, including but not
1032            limited to design and operation of a long distance transmission system, simulating a
1033            timeline for transitioning to a 100% WWS system, and supplying essential grid services
1034            like frequency control and operating reserves.
1035
1036            Does not apply generally accepted principles and techniques reliably to support key
1037            components of his testimony, including but not limited to the values he uses for cost of
1038            capital, the method he uses for estimating total capital requirements, the lack of indexing
1039            for different year dollars in certain instances, the method he uses for determining
1040            capacity factors, and ignoring considering extreme conditions and macroeconomic
1041            affects in his analyses.
1042
1043   I end by reiterating the warning from Clack et al. (2017) (page 6722):
1044
1045           “Policy makers should treat with caution any visions of a rapid, reliable, and low-cost
1046           transition to entire energy systems that relies almost exclusively on wind, solar, and
1047           hydroelectric power.”
1048
1049   6.      Information Relied Upon and Considered

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1121

1122   7.      Compensation

1123   My rate for expert services in this case is $350/hour.
1124
1125   I have not testified as an expert at trial or by deposition within the preceding four (4) years.




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1126   Appendix A: CV

1127   HOWARD J. HERZOG

1128   Senior Research Engineer                                      Tel: (617) 253-0688
1129   MIT Energy Initiative                                FAX: (617) 253-8013
1130   Room E19-370L                                                 email: hjherzog@mit.edu
1131   Cambridge, MA 02139                                  http://sequestration.mit.edu
1132
1133   EDUCATION:
1134   Feb 1975   B.S., Chemical Engineering, Massachusetts Institute of Technology
1135                     Honors:
1136                     - American Institute of Chemists' Student Award
1137                     - Phi Lambda Upsilon (Honorary Chemical Society)
1138                     - Tau Beta Pi (Honorary Engineering Society)
1139   Feb 1975   M.S., Chemical Engineering Practice, Massachusetts Institute of Technology
1140   June 1980  Chemical Engineer's Degree, Massachusetts Institute of Technology
1141
1142   PROFESSIONAL EXPERIENCE:
1143   1989 - present Massachusetts Institute of Technology
1144                  Research Areas:
1145                  - Controlling CO2 Emissions from Power Plants
1146                  - Greenhouse Gas Mitigation Technologies
1147                  - Geothermal Energy and Heat Mining
1148                  - Hazardous Waste Disposal and Environmental Remediation
1149                  - Industrial Energy Use and Analysis
1150
1151   1986 - 1988        Laser Analytics Division, Spectra-Physics, Inc.
1152
1153   1981 - 1986        Aspen Technology, Inc.
1154
1155   1980 - 1981        Massachusetts Institute of Technology Energy Laboratory - ASPEN Project
1156
1157   1975 - 1978        Stone & Webster Engineering Corp.
1158
1159   Summers            Eastman Kodak Company
1160   72,73,74
1161
1162   PROFESSIONAL AND HONOR SOCIETIES:
1163   American Institute of Chemical Engineers
1164   EIT Certificate
1165   Phi Lambda Upsilon
1166   Tau Beta Pi
1167
1168   AWARDS:
1169   Greenman Award (2010) from the International Energy Agency Greenhouse Gas R&D Programme “in
1170   recognition of contributions made to the development of greenhouse gas control technologies”
1171
1172   Certificate from the Intergovernmental Panel on Climate Change (IPCC) “for contributing to the award of
1173   the Nobel Peace Prize for 2007 to the IPCC”




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1174   CONSULTING (Partial list, 1989-present):
1175
1176   Alstom Power
1177   Aspen Technology, Inc.
1178   Air Products
1179   BP
1180   Cabot Corporation
1181   Clean Air Task Force
1182   Clean Harbors
1183   Coal Utilization Research Council
1184   Connecticut Center for Advanced Technology, Inc.
1185   EPRI
1186   European Commission
1187   FutureGen Alliance
1188   General Electric Company
1189   ICF
1190   Kværner Engineering
1191   Mannesmann
1192   Metalor USA Refining Corporation
1193   Ministry of the Environment (Japan)
1194   New Energy and Industrial Technology
1195           Development Organization (Japan)
1196   OECD Environmental Directorate
1197   Praxair
1198   Quantum Reservoir Impact
1199   SES Innovation
1200   Technology Centre Mongstad
1201   Total
1202   U.S. Department of Energy
1203   VerTech Treatment Systems
1204   World bank




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1348   Technologies, Washington, DC, November (2008).




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1349   Appendix C: Assessment of Jacobson’s Methods for Calculating Hydrogen Storage Costs
1350
1351   This appendix provides detail on Jacobson’s methods for calculating the costs of his proposed
1352   hydrogen storage system. Jacobson has made significant changes to the cost calculations for this
1353   hydrogen storage system between Jacobson et al. (2015b) and Jacobson et al. (2018). This
1354   appendix reviews and comments on both sets of calculations.
1355
1356   Jacobson estimates hydrogen costs as 0.46 (0.22-0.69) cents per kilowatt-hour (¢/kWh), per
1357   Jacobson et al. (2015b).38 These costs reflect 2013 year-dollars.39
1358
1359   According to Jacobson et al. (2015b), the basis for these hydrogen costs is an earlier publication
1360   by Jacobson: Jacobson MZ, Colella WG, Golden DM (2005) Cleaning the air and improving
1361   health with hydrogen fuel-cell vehicles. Science 308(5730):1901-1905, referred to in this
1362   appendix as Jacobson et al. (2005).40
1363
1364   This remainder of this appendix provides detail and calculations that highlight flaws and errors
1365   associated with the figures in Jacobson et al. (2005), Jacobson et al. (2015b), and Jacobson et al.
1366   (2018).
1367
1368   Issue #1 – The hydrogen cost figures in Jacobson et al. (2015b) do not match the figures in
1369   Jacobson et al. (2005) despite Jacobson’s reference and appear to be underestimated.
1370
1371   Details for hydrogen generation costs are given in Jacobson et al. (2005), Supporting Online
1372   Material, Section 4, pages 22-23, Table S2. The hydrogen cost generation costs include four
1373   components:
1374
1375        1)   Electrolyzer;
1376        2)   Compressor;
1377        3)   Storage equipment; and
1378        4)   Water costs.
1379
1380   Table S2 of Jacobson et al. (2005) reports costs for each of these components in both low and
1381   high cases in units of $kgH2 as indicated in Table C-1 below. The sum of these components, per
1382   the total row of Table C-1, yields $1.40 to $3.66.




       38
         Jacobson et al. (2015b), Table 2, page 15063, row “H2 prod/compress/stor. (excl. elec. Cost) (¢/kWh)”. The
       kilowatt-hours (kWh) in this figure refer to all energy. This cost excludes electricity; electricity costs are considered
       elsewhere in Jacobson et al. (2015b), Table 2.
       39
         Jacobson et al. (2015b), Table 2, page 15063 directly states that electricity costs presented therein are in “2013
       dollars.”
       40
           Jacobson et al. (2015b), Table 2, page 15063, footnote m makes reference to citation (38), which is Jacobson et
       al. (2005) as indicated on page 15065 of Jacobson et al. (2015b).



                                                                                                                              38
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1383   Table C-1: Hydrogen Storage Costs from Jacobson et al. (2005)
                                                            Source Row from
           Hydrogen Cost         Low                     Jacobson et al. (2005),
             Component          Value      High Value            Table S2
                                                         Cost of electrolysis for
        Electrolyzer             $0.39        $2.00
                                                         producing H2 ($/kg-H2)
                                                         Cost of H2 compression
        Compressor               $0.70        $1.34
                                                         ($/kg-H2)
                                                         Cost of H2 storage
        Storage equipment        $0.31        $0.31
                                                         ($/kg-H2)
                                                         Cost of water per kg-H2
        Water Costs             $0.005       $0.009
                                                         ($/kg-H2)
                       Total     $1.40        $3.66
        Note: Where appropriate, figures rounded to two decimal places for consistency with
        figures reported in Jacobson et al. (2015b); Jacobson et al. (2005) provides figures to
        numerous decimal places on an inconsistent basis.
1384
1385   The totals in Table C-1 do not match the values reports in Jacobson et al. (2015b), Table 2, page
1386   15063, footnote m. This is summarized in Table C-2.
1387
1388   Table C-2: Comparison of Hydrogen Storage Costs from Jacobson et al. (2005) and Jacobson et
1389   al. (2015b)
               Publication        Low Value High Value                  Source 
        Jacobson et al. (2005)       $1.40         $3.66      Table C-1, row “Total”
                                                              Jacobson et al (2015b),
        Jacobson et al. (2015b)      $1.16         $3.57
                                                              page 15063, footnote m.
                                                              Calculated as [2015b value
                       Difference  -17.14%        -2.46%      – 2005 value] / [2005
                                                              value]
1390
1391   This expert report does not speculate on why there is a mismatch between these two sets of
1392   numbers. However, I note that there is a difference between the values cited by Jacobson et al.
1393   (2015b) in support of the figures used, and the values actually found in the citation. The extent of
1394   this difference is not consistent between the lower and higher values calculated across the two
1395   publications. Jacobson does not provide any explanation for this difference.
1396
1397   The effect of this flaw is to reduce the hydrogen storage costs estimated within Jacobson et al.
1398   (2015b), and therefore to understate the overall costs of Jacobson’s proposed energy system.
1399
1400   Issue #2 – Jacobson fails to adjust his inputs on a dollar-year basis as appropriate and
1401   therefore underestimates hydrogen storage costs.
1402
1403   As stated above, the figures in Jacobson et al. (2015b) reflect 2013 year-dollars. However,
1404   Jacobson et al. (2005) was published in 2005; the year-dollar basis for the figures therein must be
1405   2005 year-dollars or year-dollars from a year prior to 2005. There is no mention of dollar-year




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1406   basis in Jacobson et al. (2005), Supporting Online Information, Table S2. However, Table 1 of
1407   Jacobson et al. (2005) indicates use of a 2004 year-dollar basis in this publication.41
1408
1409   Jacobson et al. (2015b) makes no mention of indexing to correct for dollar-year basis. While, as
1410   described in Issue #1, the figures between Jacobson et al. (2005) and Jacobson et al. (2015b) do
1411   not match, the discrepancy in Issue #1 cannot be explained by adjustments for dollar-year basis,
1412   because such adjustments between 2004 and 2013 would raise costs, and not lower them.
1413   However, the discrepancy noted in Issue #1 features lower costs for the 2013 year-dollar basis
1414   than for the 2004 year-dollar basis.
1415
1416   The Consumer Price Index rose by approximately 23 percent between 2004 and 2013.42 By
1417   failing to account for inflation from the original year-dollar basis in which hydrogen storage
1418   costs were estimated in Jacobson et al. (2005), the figures in Jacobson et al. (2015b) therefore
1419   appear to substantially underestimate the costs of hydrogen storage.
1420
1421   Issue #3 – The capacity factors are inconsistent between Jacobson et al. (2005) and
1422   Jacobson et al. (2015b), resulting in an underestimation of costs.
1423
1424   To calculate electrolyzer costs, Jacobson et al. (2005) uses capacity factors, referred to as
1425   “fraction of time electrolyzer used.”43 These capacity factors are 95 percent for the “low value”
1426   case and 50 percent for the “high value” case.
1427
1428   However, this is in contradiction to the figures presented in Jacobson et al. (2015b). Specifically,
1429   the third panel of Figure S6 on page 19 of the Supporting Information to Jacobson et al. (2015b)
1430   is reproduced below as Figure C-1.
1431
1432   Figure C-1.
1433




1434
1435   Source: Jacobson et al. (2015b), Supporting Information, Figure S6, third panel, page 19.
1436
       41
          Jacobson et al. (2005), page 1904, Table 1 provides “Estimated health, climate, and total cost reductions (positive
       values) or increases (negative values) per year in 2004 dollars for each of the four cases discussed.”
       42
          U.S. Department of Labor, Bureau of Labor Statistics, Consumer Price Index Research Series Using Current
       Methods (CPI-U-RS), U.S. city average, All items, not seasonally adjusted, December 1977 = 100, available online
       at: https://www.bls.gov/cpi/research-series/allitems.pdf. Per these data, the Consumer Price Index averaged 277.5 in
       2004 and 342.5 in 2013, suggesting an increase of (342.5/277.5) – 1, or 23.42 percent.
       43
          Jacobson et al. (2005), Supporting Online Information, Table 2, page 22-23, row “Fraction of time electrolyzer
       used.” Footnote v to Table 2 reads: “the high estimate assumes that multiple connected wind farms reduce
       intermittency.”


                                                                                                                          40
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1437     In this figure, the electrical load going to the hydrogen storage system is represented by the
1438     orange line. The load going to the hydrogen storage system is shown to be about 2 terawatt-hours
1439     per hour (TWh/hr), or 2,000 gigawatts (GW). In Jacobson et al. (2015b), page 15061, Table 1,
1440     the average load for the system is listed as 180.2 GW.44
1441
1442     Assuming a maximum load of 2,000 GW and an average load of 180.2 GW, the capacity factor
1443     is 180.2 divided by 2,000, or approximately nine percent.45
1444
1445     My calculations, shown in Table C-3 below, indicate that aligning the capacity factor estimates
1446     between the simulations in Jacobson et al. (2015b) and the estimation of hydrogen storage
1447     system costs in Jacobson et al. (2005) yields a range for hydrogen costs of $11.5-$18.8 per kg-
1448     H2.
1449
1450     Table C-3: Calculation of Hydrogen Storage Costs Using Capacity Factor Derived from
1451     Jacobson et al. (2015b)
            Parameter            Low Value      High Value        Calculation               Source
                                                                                    Jacobson et al. (2005),
    Capacity Factor                 0.95*          0.5*                  a
                                                                                    Table S2, Row c
    Cost of electrolysis for                                                        Jacobson et al. (2005),
                                    0.387          2.00                  b
    producing H2 ($/kg-H2)                                                          Table S2, Row m
    Electrolyzer cost,
    adjusted for 9% capacity         4.09          11.1                  ∗          Calculated value
    factor                                                                 0.09
    Cost of H2 compression                                                          Jacobson et al. (2005),
                                     0.7*          1.34                  d
    ($/kg-H2)                                                                       Table S2, Row u
    Compressor cost,
    adjusted for 9% capacity         7.39          7.44                  ∗          Calculated value
    factor ($/kg-H2)                                                        0.09
    Cost increase from 9%
                                     10.4          15.2        f = (c - b) + (e -d) Calculated value
    capacity factor ($/kg-H2)
    H2 costs, Jacobson et al.                                                       Jacobson et al., 2015b,
                                     1.16          3.57                  g
    (2015b) ($/kg-H2)                                                               Table 2, footnote m
    H2 costs with cost
                                     11.5          18.8             h = f + g       Calculated value 
    increase 
    Factor increase over
    Jacobson et al. (2015b)          10.0          5.26                             Calculated value 
    H2 costs 
   Data from Jacobson et al. (2005) reflect Table S2, pages 22-23, in the Supporting Online Information. Calculations and figures
   shown to three significant digits places. Asterisks (*) denote figures provided by Jacobson et al. (2005) shown to fewer than
   three significant digits. Figures may not calculate due to rounding.
1452


         44
           Jacobson et al. (2015b), page 15061, Table 1, column “(6) 2050 load used for H2 production and compression,”
         row “All Sectors”.
         45
           When equipment is sized, it is generally oversized from a theoretical estimate to take into account uncertainty and
         other issues (e.g., equipment outages). Therefore, the actual capacity factor is likely to be less than nine percent
         given an increased maximum load.



                                                                                                                           41
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1453   As indicated in Table C-3, applying the capacity factor derived from the estimates in Jacobson et
1454   al. (2015b) yields a cost of $11.5-$18.8 per kg-H2. This cost exceeds the estimates under high
1455   capacity factors from Jacobson et al. (2005) by a factor of 5.3 to a factor of 10. Therefore, based
1456   on a misaligned capacity factor, Jacobson’s costs for hydrogen storage appear to be
1457   underestimated.
1458
1459   Issue #4 – Jacobson underestimates hydrogen storage system costs by omitting some types
1460   of projects costs.
1461
1462   As described in Section 4.5.2 of this expert report, Jacobson et al. (2015b) only considers costs
1463   for major pieces of equipment, and not for additional project costs, such as engineering services,
1464   contingencies, interest during construction, and so on. As a result, he underestimates hydrogen
1465   storage system costs.
1466
1467   Issue #5 – Jacobson substantially revises his hydrogen electrolyzer and compressor costs
1468   downward in Jacobson et al. (2018) relative to Jacobson et al. (2015b) with inadequate
1469   explanation.
1470
1471   Table C-4 compares the components comprising hydrogen cost in dollars per kg-H2 between the
1472   estimates in Jacobson et al. (2005), which were brought forward to Jacobson (2015b), and
1473   Jacobson et al. (2018).
1474
1475   Table C-4: Comparison of Hydrogen Storage Costs ($/kg-H2) from Jacobson et al. (2005) and
1476   Jacobson et al. (2018), by Component
                          Jacobson et al. (2005)     Jacobson et al. (2018)          Source and
        Component                                 Case A Case B Case C                Derivation
                                                                                  2005: Table C-1
        Electrolyzer       $1.19 ($0.39-$2.00)         $0.56 ($0.20-$0.92)
                                                                                  2018: SI, page 7
                                                                                  2005: Table C-1
        Compressor         $1.02 ($0.70-$1.34)         $0.37 ($0.15-$0.60)
                                                                                  2018: SI, page 7
                                                                                  2005: Table C-1
        Storage                    $0.31           $2.06      $0.09     $2.32     2018: SI, page 7
                                                                                  (see note 1)
                                                                                  2005: Table C-1
        Water Costs        $.007 ($.005-$.009)         $.007 ($.005-$.009)
                                                                                  2018: SI, page 7
                                                                                  Sum of above
               Total        $2.36 (see note 2)     $2.99      $1.03     $3.26
                                                                                  components
        Totals may not sum due to rounding to two decimal places. Table C-1 refers to the table in this Appendix. “SI”
        refers to the Supporting Information to Jacobson et al. (2018). Jacobson et al. (2015b) does not provide a
        breakdown of hydrogen storage costs by component, this table uses the per-component costs as reported in
        Jacobson et al. (2005), which Jacobson et al. (2015b) cites as a reference with regard to hydrogen storage costs.
        Additional notes:
        1. The difference in storage costs for the cases in Jacobson et al. (2018) is due to assumptions regarding days of
        hydrogen storage required as shown in Jacobson et al (2018) Table S1, column j. These are 23 days (Case A), 1
        day (Case B), and 26 days (Case C).
        2. This is the cost used in Jacobson et al. (2015b). As described in Issue #1 of this appendix, the component costs
        do not add to this total cost.
1477




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1478   As indicated in the first two rows of Table C-4, Jacobson et al. (2018) features a considerably
1479   lower range for compressor costs in dollars per kg-H2 than the range of costs used in Jacobson et
1480   al. (2005). While there is some overlap between the corresponding ranges in electrolyzer costs
1481   between the two publications, the range in Jacobson et al. (2018) generally reflects lower costs.
1482   Jacobson offers no explanation for the decrease in electrolyzer costs by 53% and compressor
1483   costs by 64% in the three years between the publications.46
1484
1485   The remaining issues in this Appendix, i.e., Issues #6, #7, and #8 pertain specifically to figures
1486   and calculations performed in Jacobson et al. (2018).
1487
1488   Issue #6 – Jacobson et al. (2018) repeats the same errors regarding capacity factor as
1489   Jacobson et al. (2015b), thereby underestimating hydrogen storage costs.
1490
1491   Jacobson et al. (2018) does not provide data that aligns to Table S6 of Jacobson et al. (2015b),
1492   which indicated a capacity factor of approximately nine percent. Therefore, it is unclear what the
1493   simulations in Jacobson et al. (2018) indicate regarding the appropriate capacity factor to use for
1494   estimating hydrogen storage costs. Jacobson et al. (2018) state in the SI on page 7 that they use a
1495   capacity factor range of 50-95%, the exact same range assumed in Jacobson et al. (2015b). In
1496   addition, Jacobson et al. (2018) gives no indication that it used the LOADMATCH output to
1497   inform what an appropriate capacity factor should be. If this was done, Jacobson would be able
1498   to specify a capacity factor for each of the three cases (see discussions in Section 4.5.3 and App
1499   C, Issue #3), instead of using a generic range. It is my expert opinion that if the LOADMATCH
1500   output were available for Jacobson et al. (2018), it would reveal a capacity factor much closer to
1501   the 9% from Jacobson et al. (2015b) than the generic 50-95% range.
1502
1503   Issue #7 – Jacobson et al. (2018) uses an unreasonably low cost of capital, underestimating
1504   hydrogen storage costs.
1505
1506   Through Jacobson et al. (2018), the cost of capital applied is between one percent and three
1507   percent.47 As described in this expert report in Section 4.5.1, reasonable cost of capital rates
1508   range from 6.2 percent to 7.7 percent; the cost of capital used by Jacobson et al. (2018) is
1509   underestimated. Critically, in Jacobson et al. (2005), the cost of capital used was between six
1510   percent and eight percent. 48
1511
1512   The higher the cost of capital, the more expensive the financing for the project. By understating
1513   the cost of capital, Jacobson et al. (2018) underestimates hydrogen storage costs.
1514
1515   Issue #8 – The cost estimates in Jacobson et al. (2018) do not include all relevant project
1516   costs for hydrogen storage, thereby underestimating costs.
1517
1518   Page 7 of the Supporting Information to Jacobson et al. (2018) indicates a capital cost of “1.2-
1519   1.3” applied to electrolyzer costs, compressor costs, and storage costs. As described in Section

       46
         From Table C-4, ($0.56-$1.19)/$1.19 = a 53% decrease in electrolyzer costs; ($0.37-$1.02)/$1.02 = a 64%
       decrease in compressor costs.
       47
            Jacobson et al. (2018), SI, Page 30, Table S9, footnote
       48
            Jacobson et al. (2005), SI, Page 23, Table S2, row e “interest rate”



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1520   4.5.2 of this expert report, the typical range for capital costs for similar projects is 3 to 5, rather
1521   than 1.2 to 1.3.
1522
1523   Summary – Recalculation of Jacobson et al. (2018) hydrogen costs using realistic inputs.
1524
1525   This section recalculates the cost of hydrogen using realistic inputs for capacity factor, the cost
1526   of capital, and capital cost multipliers, as well as the combination of all three inputs. The effects
1527   of recalculation of Jacobson et al. (2018) Case A using these realistic inputs is shown below and
1528   reproduced fully in Attachment A to this Appendix, Tables C-A-1 through C-A-5.
1529
1530           Jacobson et al. (2018) Case A. Cost of hydrogen = $2.99/kgH2, per Jacobson et al.
1531           (2018), Supporting Information, Page 7, sum of electrolyzer, compressor, storage, and
1532           water costs. See also the derivation in Table C-4. For clarity, this calculation is
1533           reproduced in Table C-A-1.
1534
1535           Adjustment: use of capacity factor of 9%. Resulting cost of hydrogen = $8.08/kgH2,
1536           per Table C-A-2.
1537
1538           Adjustment: use of cost of capital of 6.2% to 7.7%. Resulting cost of hydrogen =
1539           $4.70/kgH2 per Table C-A-3.
1540
1541           Adjustment: use of capital cost multipliers of 3 to 5. Resulting cost of hydrogen =
1542           $9.10/kgH2 per Table C-A-4.
1543
1544           Adjustment: use of capacity factor of 9%, cost of capital of 6.2% to 7.7%, and
1545           capital cost multipliers of 3 to 5. Resulting cost of hydrogen = $35.43/kgH2 per Table
1546           C-A-5.
1547
1548   Table C-5 summarizes these resulting costs of hydrogen under the use of realistic inputs.
1549
1550   Table C-5: Comparison of Hydrogen Storage System Costs under Realistic Inputs
                                                Hydrogen Storage       Cost Increase Relative to
                         Scenario                 System Cost       Jacobson et al. (2018) Case A*
        Jacobson et al. (2018) Case A              $2.99/kgH2                       1.0
        Capacity factor of 9%                      $8.08/kgH2                       2.7
        Interest rate of 6.2% to 7.7%              $4.70/kgH2                       1.6
        Capital cost multipliers of 3 to 5         $9.10/kgH2                       3.0
        Use of all three realistic inputs above   $35.43/kgH2                      11.8
        * Reflects the hydrogen storage system cost in each row divided by the midpoint hydrogen cost in Jacobson et al.
        (2018) Case A, i.e., $2.99/kgH2. Hydrogen storage system costs reflect final estimates derived in Tables C-A-1
        through C-A-5.
1551
1552   If the results of the above analysis, i.e., a cost increase in hydrogen storage system costs by a
1553   factor of 11.8 were relayed into Jacobson et al. (2018), Supporting Information, Table S9, page
1554   28-29, column “North America,” row “H2 production/compression/storage,” the value of 0.474
1555   ¢/kWh would increase by a factor of 11.8 (i.e., 35.43/2.99) to 5.62 ¢/kWh. The corresponding
1556   Levelized Cost of Energy (LCOE) for all energy would rise by the difference between 5.62


                                                                                                                       44
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1557   ¢/kWh and 0.474 ¢/kWh, or 5.15 ¢/kWh. Therefore, it would increase from 10.51 ¢/kWh, as
1558   listed in Jacobson et al. (2018), Supporting Information, Table S9, page 28-29, column “North
1559   America,” row “Total LCOE (¢/kWh-all-energy)” to 15.66 ¢/kWh. Therefore, one can argue that
1560   the total energy costs in Jacobson et al. (2018) should be 49 percent greater (i.e., 5.15/10.51) than
1561   reported in Table S9 for North America, Case A solely as a result of unrealistic inputs in the
1562   calculation of costs for the hydrogen production, compression, and storage system.
1563
1564   Based on this analysis, I conclude that the hydrogen storage costs, and therefore the overall
1565   energy system costs found in Jacobson et al. (2015b) and Jacobson et al. (2018), and relied upon
1566   in his Expert Report, are substantially underestimated.




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1567
1568                                                                  Appendix C
1569
1570      Attachment A: Derivation of Hydrogen Storage System Costs Consistent with Jacobson et al. (2018) Case A under Realistic Inputs
1571
1572 Table C-A-1: Derivation of Jacobson et al. (2018) Hydrogen Storage System Costs, with no Input Adjustments
                 Parameter                           Low Value             High Value           Calculation                               Source
     Electrolyzer
     Capital cost ($/kw)                                 $300                  $450                   a
                                                                                                                       Jacobson et al. (2018), Supporting
     Capacity factor                                     0.95                   0.5                   b
                                                                                                                       Information, page 7
     Lifetime, years                                      15                    10                    c
                                                                                                                       Jacobson et al. (2018), Supporting
     Interest rate                                       0.01                  0.03                   d                Information, page 30, Footnote to Table
                                                                                                                       S9
                                                                                                     ∗
     Annual charge rate                                 0.072                  0.117            e=                     Calculated value
                                                                                                                       Jacobson et al. (2018), Supporting
     Installation factor                                  1.2                   1.3                   f
                                                                                                                       Information, page 7
     Annualized capital cost, $/kw/yr                    26.0                  68.6             g=f*e*a                Calculated value
                                                                                                                       Jacobson et al. (2018), Supporting
     Annual O&M cost factor                             0.015                  0.015                  h
                                                                                                                       Information, page 7
     O&M cost, $/kw/yr                                   4.50                  6.75               i=h*a                Calculated value
     Total cost, $/kw/yr                                 30.5                  75.3               j=g+i                Calculated value
                                                                                                                       Jacobson et al. (2018), Supporting
     kWh/kg-H2                                          53.37                  53.37                  k
                                                                                                                       Information, page 7
     Hours/year                                         8,760                  8,760            l = 24 * 365           Calculated value
     Operating hours/year                               8,322                  4,380              m=l*b                Calculated value
     Cost, $/kg-H2                                      0.195                  0.918              n=j*                 Calculated value
     Average of low and high $/kg-H2                               0.557                  o = Average of nlow, nhigh   Calculated value




                                                                                                                                                       46
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                  Parameter                             Low Value             High Value             Calculation                                Source
        Compressor
                                                                                                                             Jacobson et al. (2018), Supporting
        Capital cost ($)                                  400,000                 515,000                   p
                                                                                                                             Information, page 7
        Annualized capital cost, $/yr                      34,619                 78,486             q=f*e*p                 Calculated value
        O&M cost, $/yr                                      6,000                  7,725              r=h*p                  Calculated value
        Total annualized cost, $/yr                        40,619                 86,211              s=q+r                  Calculated value
                                                                                                                             Jacobson et al. (2018), Supporting
        Compressor rate, kg-H2/hr                            33                     33                      t
                                                                                                                             Information, page 7
        Cost, $/kg-H2                                      0.148                   0.596              u=                     Calculated value
                                                                                                          ∗
        Average of low and high $/kg-H2                               0.372                   v = Average of ulow, uhigh     Calculated value
        Storage Equipment
        Capital cost ($/kg-H2)                               450                   550                      w                Jacobson et al. (2018), Supporting
        Lifetime, years                                      50                    30                       x                Information, page 7
                                                                                                            ∗
        Annual charge rate                                 0.0255                 0.0510             y=                      Calculated value
        Annualized capital cost, $/kg-H2/yr                 13.8                   36.5              z=f*y*w                 Calculated value
        O&M cost, $/kg-H2/yr                                6.75                   8.25              aa = h * w              Calculated value
        Total annualized cost, $/kg-H2/yr                   20.5                   44.7              ab = aa + z             Calculated value
                                                                                                                             Jacobson et al. (2018), Supporting
        Days of hydrogen storage                             23                     23                      ac
                                                                                                                             Information, Table S1
                                                                                                                             Calculated value to adjust cost for
        Cost, $/kg-H2                                       1.29                   2.82             ad = ab *
                                                                                                                             fraction of year that hydrogen is stored
        Average of low and high $/kg-H2                                2.06                  ae = Average of adlow, adhigh   Calculated value
        Cost summary, $/kg-H2
        Electrolyzer                                                  0.557                                 o
                                                                                                                             Matches numbers in Jacobson et al.
        Compressor                                                    0.372                                 v
                                                                                                                             (2018), Supporting Information, page 7
        Storage                                                        2.06                                 ae
                                                                                                                             Jacobson et al. (2018), Supporting
                                                                                                        .        .
        Water                                                        0.00708                     af =                        Information, page 7 (Electrolyzer
                                                                                                                             paragraph)
        Cost of H2 storage system                      $2.99/kg-H2                                  o + v + ae + af          Calculated value
        Note: Figures may not calculate due to rounding.
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                                                                                                                                                               47
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1575 Table C-A-2: Derivation of Jacobson et al. (2018) Hydrogen Storage System Costs, Adjusted for 9% Capacity Factor
1576 Highlighted values reflect adjusted inputs
                  Parameter                           Low Value             High Value           Calculation                            Source
      Electrolyzer
                                                                                                                        Jacobson et al. (2018), Supporting
      Capital cost ($/kw)                                 $300                  $450                   a
                                                                                                                        Information, page 7
                                                                                                                        Adjusted input, see discussion in
      Capacity factor                                     0.09                  0.09                   b
                                                                                                                        Issues #3 and #6 of Appendix C
                                                                                                                        Jacobson et al. (2018), Supporting
      Lifetime, years                                      15                    10                    c
                                                                                                                        Information, page 7
                                                                                                                        Jacobson et al. (2018), Supporting
      Interest rate                                       0.01                  0.03                   d                Information, page 30, Footnote to Table
                                                                                                                        S9
                                                                                                      ∗
      Annual charge rate                                 0.072                  0.117            e=                     Calculated value
                                                                                                                        Jacobson et al. (2018), Supporting
      Installation factor                                  1.2                   1.3                   f
                                                                                                                        Information, page 7
      Annualized capital cost, $/kw/yr                    26.0                  68.6             g=f*e*a                Calculated value
                                                                                                                        Jacobson et al. (2018), Supporting
      Annual O&M cost factor                             0.015                  0.015                  h
                                                                                                                        Information, page 7
      O&M cost, $/kw/yr                                   4.50                  6.75               i=h*a                Calculated value
      Total cost, $/kw/yr                                 30.5                  75.3               j=g+i                Calculated value
                                                                                                                        Jacobson et al. (2018), Supporting
      kWh/kg-H2                                          53.37                  53.37                  k
                                                                                                                        Information, page 7
      Hours/year                                         8,760                  8,760            l = 24 * 365           Calculated value
      Operating hours/year                                788                    788               m=l*b                Calculated value
      Cost, $/kg-H2                                       2.06                  5.10               n=j*                 Calculated value
      Average of low and high $/kg-H2                                3.58                  o = Average of nlow, nhigh   Calculated value
      Compressor
                                                                                                                        Jacobson et al. (2018), Supporting
      Capital cost ($)                                  400,000                515,000                 p
                                                                                                                        Information, page 7
      Annualized capital cost, $/yr                      34,619                78,486            q=f*e*p                Calculated value
      O&M cost, $/yr                                      6,000                 7,725             r=h*p                 Calculated value
      Total annualized cost, $/yr                        40,619                86,211             s=q+r                 Calculated value
      Compressor rate, kg-H2/hr                             33                    33                t                   Jacobson et al. (2018), Supporting
                                                                                                                                                         48
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                        Parameter                        Low Value             High Value             Calculation                           Source
                                                                                                                            Information, page 7
         Cost, $/kg-H2                                       1.56                  3.31               u=                    Calculated value
                                                                                                          ∗
         Average of low and high $/kg-H2                                2.44                  v = Average of ulow, uhigh    Calculated value
         Storage Equipment
         Capital cost ($/kg-H2)                              450                   550                        w             Jacobson et al. (2018), Supporting
         Lifetime, years                                     50                    30                         x             Information, page 7
                                                                                                              ∗
         Annual charge rate                                 0.0255                0.0510             y=                     Calculated value
         Annualized capital cost, $/kg-H2/yr                 13.8                  36.5               z=f*y*w               Calculated value
         O&M cost, $/kg-H2/yr                                6.75                  8.25               aa = h * w            Calculated value
         Total annualized cost, $/kg-H2/yr                   20.5                  44.7               ab = aa + z           Calculated value
                                                                                                                            Jacobson et al. (2018), Supporting
         Days of hydrogen storage                             23                   23                         ac
                                                                                                                            Information, Table S1
                                                                                                                            Calculated value to adjust cost for
         Cost, $/kg-H2                                       1.29                  2.82              ad = ab *
                                                                                                                            fraction of year that hydrogen is stored
         Average of low and high $/kg-H2                                2.06                ae = Average of adlow, adhigh   Calculated value
         Cost summary, $/kg-H2
         Electrolyzer                                                   3.58                                  o             See above
         Compressor                                                     2.44                                  v             See above
         Storage                                                        2.06                                  ae            See above
                                                                                                                            Jacobson et al. (2018), Supporting
                                                                                                          .        .
         Water                                                       0.00708                       af =                     Information, page 7 (Electrolyzer
                                                                                                                            paragraph)
         Cost of H2 storage system                      $8.08/kg-H2                                 o + v + ae + af         Calculated value
         Note: Figures may not calculate due to rounding.
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                                                                                                                                                             49
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1579 Table C-A-3: Derivation of Jacobson et al. (2018) Hydrogen Storage System Costs, Adjusted for Cost of Capital of 6.2% to 7.7%
1580 Highlighted values reflect adjusted inputs
                  Parameter                          Low Value             High Value            Calculation                               Source
      Electrolyzer
      Capital cost ($/kw)                                $300                   $450                   a
                                                                                                                        Jacobson et al. (2018), Supporting
      Capacity factor                                    0.95                   0.50                   b
                                                                                                                        Information, page 7
      Lifetime, years                                     15                     10                    c
                                                                                                                        Adjusted input, see discussion in Issue #7
      Interest rate                                     0.062                   0.077                  d                of Appendix C and Section 4.5.1 of this
                                                                                                                        expert report
                                                                                                       ∗
      Annual charge rate                                0.104                   0.147            e=                     Calculated value
                                                                                                                        Jacobson et al. (2018), Supporting
      Installation factor                                 1.2                    1.3                   f
                                                                                                                        Information, page 7
      Annualized capital cost, $/kw/yr                   37.6                   86.0             g=f*e*a                Calculated value
                                                                                                                        Jacobson et al. (2018), Supporting
      Annual O&M cost factor                            0.015                   0.015                  h
                                                                                                                        Information, page 7
      O&M cost, $/kw/yr                                  4.50                   6.75               i=h*a                Calculated value
      Total cost, $/kw/yr                                42.1                   92.8               j=g+i                Calculated value
                                                                                                                        Jacobson et al. (2018), Supporting
      kWh/kg-H2                                         53.37                   53.37                  k
                                                                                                                        Information, page 7
      Hours/year                                        8,760                   8,760            l = 24 * 365           Calculated value
      Operating hours/year                              8,322                   4,380              m=l*b                Calculated value
      Cost, $/kg-H2                                     0.270                   1.13               n=j*                 Calculated value
      Average of low and high $/kg-H2                              0.700                   o = Average of nlow, nhigh   Calculated value
      Compressor
                                                                                                                        Jacobson et al. (2018), Supporting
      Capital cost ($)                                 400,000                 515,000                 p
                                                                                                                        Information, page 7
      Annualized capital cost, $/yr                     50,070                 98,429            q=f*e*p                Calculated value
      O&M cost, $/yr                                     6,000                  7,725             r=h*p                 Calculated value
      Total annualized cost, $/yr                       56,070                 106,154            s=q+r                 Calculated value
                                                                                                                        Jacobson et al. (2018), Supporting
      Compressor rate, kg-H2/hr                           33                     33                    t
                                                                                                                        Information, page 7
      Cost, $/kg-H2                                     0.204                   0.734             u=                    Calculated value
                                                                                                           ∗
                                                                                                                                                         50
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                    Parameter                           Low Value             High Value           Calculation                                 Source
        Average of low and high $/kg-H2                               0.469                  v = Average of ulow, uhigh     Calculated value
        Storage Equipment
        Capital cost ($/kg-H2)                               450                   550                     w                Jacobson et al. (2018), Supporting
        Lifetime, years                                      50                    30                      x                Information, page 7
                                                                                                           ∗
        Annual charge rate                                 0.0652                 0.0863            y=                      Calculated value
        Annualized capital cost, $/kg-H2/yr                 35.2                   61.7             z=f*y*w                 Calculated value
        O&M cost, $/kg-H2/yr                                6.75                   8.25             aa = h * w              Calculated value
        Total annualized cost, $/kg-H2/yr                   42.0                   70.0             ab = aa + z             Calculated value
                                                                                                                            Jacobson et al. (2018), Supporting
        Days of hydrogen storage                             23                    23                      ac
                                                                                                                            Information, Table S1
                                                                                                                            Calculated value to adjust cost for
        Cost, $/kg-H2                                       2.64                   4.41            ad = ab *
                                                                                                                            fraction of year that hydrogen is stored
        Average of low and high $/kg-H2                                3.53                 ae = Average of adlow, adhigh   Calculated value
        Cost summary, $/kg-H2
        Electrolyzer                                                  0.700                                o                See above
        Compressor                                                    0.469                                v                See above
        Storage                                                        3.53                                ae               See above
                                                                                                                            Jacobson et al. (2018), Supporting
                                                                                                       .        .
        Water                                                        0.00708                    af =                        Information, page 7 (Electrolyzer
                                                                                                                            paragraph)
        Cost of H2 storage system                      $4.70/kg-H2                                 o + v + ae + af          Calculated value
        Note: Figures may not calculate due to rounding.
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1582




                                                                                                                                                              51
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1583 Table C-A-4: Derivation of Jacobson et al. (2018) Hydrogen Storage System Costs, Adjusted for Capital Cost Multipliers of 3 to 5
1584 Highlighted values reflect adjusted inputs
                   Parameter                          Low Value             High Value           Calculation                            Source
       Electrolyzer
       Capital cost ($/kw)                                $300                  $450                   a
                                                                                                                        Jacobson et al. (2018), Supporting
       Capacity factor                                    0.95                   0.5                   b
                                                                                                                        Information, page 7
       Lifetime, years                                     15                    10                    c
                                                                                                                        Jacobson et al. (2018), Supporting
       Interest rate                                      0.01                  0.03                   d                Information, page 30, Footnote to
                                                                                                                        Table S9
                                                                                                      ∗
       Annual charge rate                                 0.072                 0.117            e=                     Calculated value
                                                                                                                        Adjusted input, see discussion of Issue
       Installation factor                                 3.0                   5.0                   f                #8 in Appendix C and Section 4.5.2 of
                                                                                                                        this expert report
       Annualized capital cost, $/kw/yr                   64.9                  264              g=f*e*a                Calculated value
                                                                                                                        Jacobson et al. (2018), Supporting
       Annual O&M cost factor                            0.015                  0.015                  h
                                                                                                                        Information, page 7
       O&M cost, $/kw/yr                                  4.50                  6.75               i=h*a                Calculated value
       Total cost, $/kw/yr                                69.4                  271                j=g+i                Calculated value
                                                                                                                        Jacobson et al. (2018), Supporting
       kWh/kg-H2                                         53.37                  53.37                  k
                                                                                                                        Information, page 7
       Hours/year                                        8,760                  8,760            l = 24 * 365           Calculated value
       Operating hours/year                              8,322                  4,380              m=l*b                Calculated value
       Cost, $/kg-H2                                     0.445                  3.30               n=j*                 Calculated value
       Average of low and high $/kg-H2                               1.87                  o = Average of nlow, nhigh   Calculated value
       Compressor
                                                                                                                        Jacobson et al. (2018), Supporting
       Capital cost ($)                                 400,000                515,000                 p
                                                                                                                        Information, page 7
       Annualized capital cost, $/yr                     86,549                301,869           q=f*e*p                Calculated value
       O&M cost, $/yr                                     6,000                 7,725             r=h*p                 Calculated value
       Total annualized cost, $/yr                       92,549                309,594            s=q+r                 Calculated value
                                                                                                                        Jacobson et al. (2018), Supporting
       Compressor rate, kg-H2/hr                           33                    33                    t
                                                                                                                        Information, page 7

                                                                                                                                                        52
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                        Parameter                        Low Value             High Value             Calculation                           Source
         Cost, $/kg-H2                                      0.337                  2.14                u=                   Calculated value
                                                                                                          ∗
         Average of low and high $/kg-H2                                1.24                  v = Average of ulow, uhigh    Calculated value
         Storage Equipment
         Capital cost ($/kg-H2)                               450                  550                        w             Jacobson et al. (2018), Supporting
         Lifetime, years                                      50                   30                         x             Information, page 7
                                                                                                              ∗
         Annual charge rate                                 0.0255                0.0510             y=                     Calculated value
         Annualized capital cost, $/kg-H2/yr                 34.4                  140                z=f*y*w               Calculated value
         O&M cost, $/kg-H2/yr                                6.75                  8.25               aa = h * w            Calculated value
         Total annualized cost, $/kg-H2/yr                   41.2                  149                ab = aa + z           Calculated value
                                                                                                                            Jacobson et al. (2018), Supporting
         Days of hydrogen storage                             23                   23                         ac
                                                                                                                            Information, Table S1
                                                                                                                            Calculated value to adjust cost for
         Cost, $/kg-H2                                       2.60                  9.36              ad = ab *
                                                                                                                            fraction of year that hydrogen is stored
         Average of low and high $/kg-H2                                5.98                ae = Average of adlow, adhigh   Calculated value
         Cost summary, $/kg-H2
         Electrolyzer                                                   1.87                                  o             See above
         Compressor                                                     1.24                                  v             See above
         Storage                                                        5.98                                  ae            See above
                                                                                                                            Jacobson et al. (2018), Supporting
                                                                                                          .        .
         Water                                                        0.00708                      af =                     Information, page 7 (Electrolyzer
                                                                                                                            paragraph)
         Cost of H2 storage system                      $9.10/kg-H2                                 o + v + ae + af         Calculated value
         Note: Figures may not calculate due to rounding.
1585
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                                                                                                                                                             53
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1587 Table C-A-5: Derivation of Jacobson et al. (2018) Hydrogen Storage System Costs, Adjusted for Capacity Factor of 9%, Cost of Capital of 6.2% to
1588 7.7%, and Capital Cost Multipliers of 3 to 5
1589 Highlighted values reflect adjusted inputs
                  Parameter                          Low Value              High Value          Calculation                               Source
      Electrolyzer
                                                                                                                       Jacobson et al. (2018), Supporting
      Capital cost ($/kw)                                $300                  $450                   a
                                                                                                                       Information, page 7
                                                                                                                       Adjusted input, see discussion in Issues
      Capacity factor                                     0.09                 0.09                   b
                                                                                                                       #3 and #6 of Appendix C
                                                                                                                       Jacobson et al. (2018), Supporting
      Lifetime, years                                      15                   10                    c
                                                                                                                       Information, page 7
                                                                                                                       Adjusted input, see discussion in Issue
      Interest rate                                      0.062                 0.077                  d                #7 of Appendix C and Section 4.5.1 of
                                                                                                                       this expert report
                                                                                                      ∗
      Annual charge rate                                 0.104                 0.147            e=                     Calculated value
                                                                                                                       Adjusted input, see discussion of Issue
      Installation factor                                 3.0                   5.0                   f                #8 in Appendix C and Section 4.5.2 of
                                                                                                                       this expert report
      Annualized capital cost, $/kw/yr                    93.9                  331             g=f*e*a                Calculated value
                                                                                                                       Jacobson et al. (2018), Supporting
      Annual O&M cost factor                             0.015                 0.015                  h
                                                                                                                       Information, page 7
      O&M cost, $/kw/yr                                   4.50                 6.75               i=h*a                Calculated value
      Total cost, $/kw/yr                                 98.4                 338                j=g+i                Calculated value
                                                                                                                       Jacobson et al. (2018), Supporting
      kWh/kg-H2                                          53.37                 53.37                  k
                                                                                                                       Information, page 7
      Hours/year                                         8,760                 8,760            l = 24 * 365           Calculated value
      Operating hours/year                                788                   788               m=l*b                Calculated value
      Cost, $/kg-H2                                       6.66                 22.85              n=j*                 Calculated value
      Average of low and high $/kg-H2                               14.75                 o = Average of nlow, nhigh   Calculated value




                                                                                                                                                        54
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                   Parameter                            Low Value              High Value             Calculation                              Source
         Compressor
                                                                                                                            Jacobson et al. (2018), Supporting
         Capital cost ($)                                 400,000                 515,000                     p
                                                                                                                            Information, page 7
         Annualized capital cost, $/yr                    125,175                 378,574             q=f*e*p               Calculated value
         O&M cost, $/yr                                    6,000                   7,725               r=h*p                Calculated value
         Total annualized cost, $/yr                      131,175                 386,299              s=q+r                Calculated value
                                                                                                                            Jacobson et al. (2018), Supporting
         Compressor rate, kg-H2/hr                            33                    33                        t
                                                                                                                            Information, page 7
         Cost, $/kg-H2                                       5.04                  14.85              u=                    Calculated value
                                                                                                         ∗
         Average of low and high $/kg-H2                               9.94                  v = Average of ulow, uhigh     Calculated value
         Storage Equipment
         Capital cost ($/kg-H2)                              450                   550                        w             Jacobson et al. (2018), Supporting
         Lifetime, years                                     50                    30                         x             Information, page 7
                                                                                                              ∗
         Annual charge rate                                0.0652                 0.0863             y=                     Calculated value
         Annualized capital cost, $/kg-H2/yr                 88.1                  237                z=f*y*w               Calculated value
         O&M cost, $/kg-H2/yr                                6.75                  8.25               aa = h * w            Calculated value
         Total annualized cost, $/kg-H2/yr                   94.8                  246                ab = aa + z           Calculated value
                                                                                                                            Jacobson et al. (2018), Supporting
         Days of hydrogen storage                             23                    23                        ac
                                                                                                                            Information, Table S1
                                                                                                                            Calculated value to adjust cost for
         Cost, $/kg-H2                                       5.97                  15.48             ad = ab *
                                                                                                                            fraction of year that hydrogen is stored
         Average of low and high $/kg-H2                               10.73                ae = Average of adlow, adhigh   Calculated value
         Cost summary, $kg-H2
         Electrolyzer                                                  14.75                                  o             See above
         Compressor                                                    9.94                                   v             See above
         Storage                                                       10.73                                  ae            See above
                                                                                                                            Jacobson et al. (2018), Supporting
                                                                                                          .        .
         Water                                                       0.00708                       af =                     Information, page 7 (Electrolyzer
                                                                                                                            paragraph)
         Cost of H2 storage system                     $35.43/kg-H2                                 o + v + ae + af         Calculated value
         Note: Figures may not calculate due to rounding.
1590

                                                                                                                                                             55
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1591   Appendix D: Assessment of Jacobson’s Methods for Calculating Underground Thermal
1592   Energy Storage (UTES) Costs
1593
1594   This appendix provides detail on Jacobson’s methods for calculating the costs of underground
1595   thermal energy storage (UTES) to be used as a component of his proposed 100% WWS energy
1596   system.
1597
1598   Issue #1 – Jacobson does not adequately document the sources for his UTES capital costs.
1599
1600   Jacobson et al. (2015b), Supplementary Information, Table S1, indicates capital costs for UTES
1601   at $0.90/maximum-deliverable-kWhth, with a broader range of $0.071-$1.71/maximum-
1602   deliverable-kWhth.49 Footnote 5 to Table S1 cites this figure to references (39) and (30), which
1603   are Gaine and Duffy (2010)50 and Rehau (2011),51 respectively, per page 27 of the
1604   Supplementary Information to Jacobson et al. (2015b).
1605
1606   My review of these two sources indicates that neither source contains capital costs nor do they
1607   suggest values for capital costs for UTES. Jacobson’s UTES capital costs are therefore lacking in
1608   valid sourcing.
1609
1610   Issue #2 – Jacobson substantially underestimate UTES capital costs.
1611
1612   The lack of valid sourcing indicated in Issue #1 notwithstanding, the capital costs used in
1613   Jacobson et al. (2015b) for UTES are underestimated. Combining the capital cost estimate of
1614   $0.90 ($0.071-$1.71)/maximum-deliverable-kWhth with the energy storage capacity of 514.6
1615   TWh in the same table yields a total capital cost investment figure of $463 billion, with a range
1616   of $37 billion to $880 billion.52
1617
1618   Clack (2017) notes with regard to UTES capital costs: “the known capital costs for the Drake
1619   Landing system suggest a UTES installation cost of at least $1.8 trillion for [Jacobson’s
1620   proposed] 100% wind, solar and hydroelectric power system.”53 Clack’s estimate of $1.8 trillion,


       49
         Specifically, these figures are located in Jacobson et al. (2015b), Supplementary Information, Table S1, column
       “Capital cost of storage beyond power generation ($/maximum-deliverable-kWh-th),” row “UTES.”
       50
         Gaine K, Duffy A (2010) A life cycle cost analysis of large-scale thermal energy storage for buildings using
       combined heat and power. Zero Emission Buildings Conference Proceedings, eds Haase M, Andresen I, Hestnes A
       (Trondheim, Norway), 7-8 June 2010.
       51
         Rehau (2011) Underground thermal energy storage. Available at
       http://www.igshpa.okstate.edu/membership/members_only/proceedings/2011/100611-1030-BChristopher%
       20Fox%20-%20Rehau%20-%20Underground%20Thermal%20Energy%20Storage.pdf. Accessed December 27,
       2014.
       52
          Jacobson et al. (2015b), Supplementary Information, Table S1, row “UTES,” column “Capital cost of storage
       beyond power generation ($/maximum-deliverable-kWh-th),” yields the $0.90 ($0.071-$1.71) estimate; column
       “Assumed energy storage capacity (maximum-deliverable TWh)” yields the 514.6 estimate. 514.6 x $0.90 = $463
       billion; 514.6 x $0.071 = $38 billion, 514.6 x $1.71 = $880 billion. There are 1 billion kilowatts in a terawatt,
       therefore multiplying the figure in dollars per kilowatt-hour by the figure in terawatt hours translates the dollar
       figure into the billions.
       53
         Clack CTM, et al. (2017) Evaluation of a proposal for reliable low-cost grid power with 100% wind, water, and
       solar. Proc Natl Acad Sci USA 114:6722–6727, page 6727. Clack indicates that the Drake’s Landing system’s costs


                                                                                                                           56
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1621   based on the same project which Jacobson references as a demonstration of UTES storage, is
1622   nearly four times as high as Jacobson’s central estimate of $463 billion, and more than double
1623   the high end of Jacobson’s estimated range of $880 billion. This analysis shows that Jacobson’s
1624   estimates for UTES capital costs are underestimated.
1625
1626   Issue #3 – Jacobson understates UTES capital costs by using an unrealistically low cost of
1627   capital.
1628
1629   As discussed in Section 4.5.1 of this expert report, Jacobson relies on the use of very low,
1630   unrealistic cost of capital rates. Jacobson et al. (2015b), Table 2, page 15063, row “All storage
1631   except H2 (¢/kWh)” reports energy costs of 0.33 (0.062-0.75) for all energy storage but
1632   hydrogen. Of this 0.33 central estimate, 0.22 ¢/kWh is for UTES.54
1633
1634   Using the UTES capital cost of $463 billion (see Issue #2) and cost of capital used in the calculus
1635   is a more realistic weighted average cost of capital (WACC) from Lazard (2017) of 7.7% under a
1636   20-year economic lifetime,55 the corresponding UTES cost is 0.39 ¢/kWh, rather than the 0.22
1637   ¢/kWh estimated in Jacobson et al. (2015b), as indicated in Table D-A-2 of the Attachment to
1638   this Appendix.
1639
1640   Issue #4 – Jacobson does not acknowledge that retrofit costs for UTES systems will be
1641   substantially higher compared to “greenfield” situations such as Drake’s Landing.
1642
1643   Drake’s Landing comprised a new build project. However, most places where UTES will be
1644   applied in Jacobson’s proposed energy systems will require retrofitting. It is generally accepted
1645   that retrofit projects of this nature are usually more expensive than new build or “greenfield”
1646   projects.
1647
1648   Summary – Recalculation of Jacobson’s UTES costs using realistic inputs.
1649
1650   Starting with a UTES capital cost of $1.8 trillion (see Issue #2) and WACC of 7.7% with a 20
1651   year economic lifetime (see Issue #3), the corresponding UTES cost is 1.50¢/kWh, rather than
1652   the 0.22 ¢/kWh estimated in Jacobson et al. (2015b), as indicated in Table D-A-3 of the
1653   Attachment to this Appendix.
1654
1655   Presently, Jacobson et al. (2015b), Table 2, page 15063, row “2050 total LCOE (¢/kWh-to-load)
1656   in 2013 dollars” indicates a central estimate cost of 11.37 ¢/kWh. Under the scenario with
1657   adjusted, realistic capital cost and cost of capital, the central estimate cost for 2050 total LCOE
1658   would instead be 12.65 ¢/kWh, or 11.37 plus the difference between 1.50 ¢/kWh and 0.22
1659   ¢/kWh, or 1.28 ¢/kWh. This reflects an increase in total energy costs of over 11 percent, i.e.,
1660   12.65 / 11. 37 = 1.113.
1661


       imply a cost of $3.5 billion (2015$) per TWh. $3.5 billion multiplied 514.6 TWh of UTES storage as estimated in
       Table S1 of Jacobson et al. (2015b) yields approximately $1.8 trillion, as estimated by Clack here.
       54
            A detailed derivation is available in Attachment A to Appendix D, Table D-A-1.
       55
         Lazard, “Lazard's Levelized Cost of Energy Analysis - Version 11.0” (2017), page 14. Available at
       https://www.lazard.com/media/450337/lazard-levelized-cost-of-energy-version-110.pdf



                                                                                                                         57
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1662   Therefore, based solely on Jacobson’s unrealistic and unsubstantiated inputs for UTES capital
1663   costs, the costs of Jacobson’s entire 100% WWS energy system appear to be understated by over
1664   11 percent.




                                                                                                              58
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1665
1666                                                                              Appendix D
1667
1668                                      Attachment A: Derivation of Energy Costs with Realistic Inputs for UTES
1669
1670    Table D-A-1: Derivation of Jacobson et al. (2015b) “All storage except H2” Costs, Consistent with Jacobson et al. (2015b) Table 2
            Parameter               Low Value         Mid Value       High Value            Calculation                         Source
  Capital cost of storage beyond power generation ($/maximum deliverable-kWhth)
  PHS                                   12                14                16                    a
  STES                                 0.13               6.5              12.9                   b
                                                                                                                 Jacobson et al. (2015b),
  PCM-ice                              12.9              36.7             64.5                    c
                                                                                                                 Supporting Information, Table S1
  PCM-CSP                               10               15.3               20                    d
  UTES                                0.071              0.90              1.71                   e
  Assumed energy storage capacity (maximum deliverable TWh)
  PHS                                                   0.808                                     f
  STES                                                  0.590                                     g
                                                                                                                 Jacobson et al. (2015b),
  PCM-ice                                               0.253                                     h
                                                                                                                 Supporting Information, Table S1
  PCM-CSP                                               13.26                                     i
  UTES                                                  514.6                                     j
  Total capital cost ($ billions)
  PHS                                   9.7              11.3              12.9               k=a*f
  STES                                  0.1               3.8               7.6               l=b*g
  PCM-ice                               3.3               9.3              16.3              m=c*h
                                                                                                                 Calculated values
  PCM-CSP                             132.6             202.9             265.2               n=d*i
  UTES                                 36.5             463.1             880.0               o=e*j
             Total Capital Cost       182.2             690.5            1,182.0        p=k+l+m+n+o
  Interest Rate                       0.015              0.03             0.045                   q              Jacobson et al. (2015b), Table 2,
  Lifetime                              35                30                25                    r              note j
                                                                                                            ∗
  Annual Charge Rate                        0.037                 0.051              0.067            s=
                                                                                                                          Calculated value
  Annual Capital Cost, Total                 6.73                 35.23              79.71              t=s*p
                                                                                                                          Jacobson et al. (2015a),
  Annual O&M Cost Factor                     0.01                 0.015               0.02                  u
                                                                                                                          Supporting Information, Table S11



                                                                                                                                                   59
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           Parameter                Low Value                 Mid Value           High Value          Calculation                       Source
  Annual O&M Cost, Total                1.82                    10.36               23.64              v=p*u              Calculated value
  Terrawatt-hours/year                                                                                                    Jacobson et al. (2015b), Table 2,
                                                                 13,783                              w = 86,295 / 6
  (TWh/yr)                                                                                                                “Total load met over 6 y”
  All storage except H2                                                                                                   Matches Jacobson et al. (2015b),
                                       0.062                       0.33              0.75             x = 100*
  (¢/kWh)                                                                                                                 Table 2
  Annual Capital Cost, UTES
                                        1.35                      23.63             59.34               y=s*o
  only
  Annual O&M Cost, UTES
                                        0.37                       6.95             17.60               z=u*o             Calculated values
  only
  Storage, UTES only
                                       0.012                       0.22              0.56            aa = 100*
  (¢/kWh)
  Note: Figures may not calculate due to rounding.
1671




                                                                                                                                                   60
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1672   Table D-A-2: Derivation of Jacobson et al. (2015b) UTES Costs, Adjusted for 7.7% Cost of Capital and 20-Year Project Lifetime
1673   Highlighted values reflect adjusted inputs
                     Parameter                    Mid Value           Calculation                               Source
         Capital cost of storage beyond
                                                                                            Jacobson et al. (2015b), Supporting
         power generation ($/maximum                 0.9                   a
                                                                                            Information, Table S1
         deliverable-kWhth) – UTES only
         Assumed energy storage capacity
                                                                                            Jacobson et al. (2015b), Supporting
         (maximum deliverable TWh) –                514.6                  b
                                                                                            Information, Table S1
         UTES only
         Total capital cost, $billions –
                                                    463.1              c=a*b                Calculated value
         UTES only
         Interest Rate                              0.077                  d
                                                                                            Adjusted inputs, see Issue #3 of Appendix D
         Lifetime                                     20                   e
                                                                                       ∗
         Annual Charge Rate                                 0.100                 f=                     Calculated value
         Annual O&M Cost Factor                    0.015                                g                Table D-A-1, row u
         Terrawatt-hours/year (TWh/yr)            13,783                          h = 86,295 / 6         Table D-A-1, row w
         Annual Capital Cost, UTES only             46.1                             i=f*c               Calculated values using adjusted inputs
         Annual O&M Cost, UTES only                 6.95                             j=g*c               (calculations using Jacobson’s inputs in Table
         Storage, UTES only (¢/kWh)                0.39                           k = 100*               D-A-1, rows y, z, aa)
         Note: Figures may not calculate due to rounding.
1674




                                                                                                                                                      61
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1675   Table D-A-3: Derivation of Jacobson et al. (2015b) UTES Costs, Adjusted for 7.7% Cost of Capital, 20-Year Project Lifetime, and $1.8
1676   trillion capital cost
1677   Highlighted values reflect adjusted inputs
                      Parameter                   Mid Value           Calculation                              Source
          Total capital cost, $billions –
                                                    1,800                  a                Adjusted input, see Issue #2 of Appendix D
          UTES only
          Interest Rate                             0.077                  b
                                                                                            Adjusted inputs, see Issue #3 of Appendix D
          Lifetime                                    20                   c
                                                                                       ∗
         Annual Charge Rate                                 0.100                 d=                     Calculated value
         Annual O&M Cost Factor                            0.015                        e                Table D-A-1, row u
         Terrawatt-hours/year (TWh/yr)                     13,783                 f = 86,295 / 6         Table D-A-1, row w
         Annual Capital Cost, UTES only                    179.3                     g=a*d               Calculated values using adjusted inputs
         Annual O&M Cost, UTES only                         27.0                     h=a*e               (calculations using Jacobson’s inputs in Table
         Storage, UTES only (¢/kWh)                          1.50                 i = 100*               D-A-1, rows y, z, aa)
         Note: Figures may not calculate due to rounding.




                                                                                                                                                      62
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1678   Appendix E: Assessment of Jacobson’s Methods for Calculating Long-Distance
1679   Transmission Costs
1680
1681   This appendix provides detail on Jacobson’s methods for calculating the costs of long-distance
1682   transmission required for his proposed 100% WWS energy system.
1683
1684   Jacobson et al. (2015b), Table 2, page 15063, footnote k indicates long-distance transmission
1685   costs of 1.2 (0.3-3.2) ¢/kWh. These costs are also used in Jacobson et al. (2018), as indicated on
1686   page 31 of the Supporting Information, footnote to Table S9. Per references in both Jacobson et
1687   al. (2015b) and Jacobson et al. (2018), these costs can be traced back to Delucchi MA, Jacobson
1688   MZ (2011) Providing all global energy with wind, water, and solar power, part II: Reliability,
1689   system and transmission costs, and policies. Energy Policy 39(3):1170–1190, (Delucchi and
1690   Jacobson, 2011), Table A.2a, page 1182, row “Total cost of extra transmission ($/kWh).
1691
1692   Issue #1 – Jacobson underestimates long-distance transmission costs by failing to correct
1693   for dollar-year basis.
1694
1695   Within Delucchi and Jacobson (2011), Table A.2a, page 1182, costs are clearly indicated as
1696   being on a 2007 year-dollar basis. These costs are imported as is into Jacobson et al. (2015b) and
1697   Jacobson et al. (2018) and represented as 2013 year-dollar basis. There is no correction for year-
1698   dollar basis. Best practices calls for indexing the different dollar year basis (see section 4.5.4).
1699   The Consumer Price Index rose by approximately 12 percent between 2007 and 2013.56 By
1700   failing to index from the original year-dollar basis in which long-distance transmission costs
1701   were estimated in Jacobson et al. (2011), the figures in Jacobson et al. (2015b) underestimate the
1702   costs for long-distance transmission.
1703
1704   Issue #2 – The Delucchi and Jacobson (2011) calculations for long-distance transmission
1705   costs upon which Jacobson relies appear flawed and erroneous.
1706
1707   In Delucchi and Jacobson (2011), Table A.2a, page 1182, total transmission system capital costs
1708   are the sum of capital costs for two components:
1709
1710        1) Line, land, and tower – reflected in row “Capital cost of line, land, and tower ($/MWrs) in
1711           Table A.2a. – $448,000 ($240,000-$680,000); and
1712
1713        2) Station equipment – reflected in row “Capital cost of station equipment ($/MWrs) in
1714           Table A.2a. – $148,000 ($118,000-$177,000).
1715

1716   This sum is $596,000 (358,000-857,000) per megawatt. Costs per megawatt can be converted to
1717   dollars per kilowatt-hour by the following formula (Rubin et al., 2017, page 502):
1718



       56
          U.S. Department of Labor, Bureau of Labor Statistics, Consumer Price Index Research Series Using Current
       Methods (CPI-U-RS), U.S. city average, All items, not seasonally adjusted, December 1977 = 100, available online
       at: https://www.bls.gov/cpi/research-series/allitems.pdf. Per these data, the Consumer Price Index averaged 304.6 in
       2007 and 342.5 in 2013, suggesting an increase of (342.5/304.6) – 1, or 12.44 percent.



                                                                                                                        63
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                                                                       	       	 $/                 ∗         	         	           	           		
                      	1 																																	
                                                                       1000             ∗ 8760                ∗             	
1719
1720   In Equation 1, the capital charge rate is a function of the interest rate (or weighted average cost of
1721   capital) and project economic lifetime. It is calculated as shown in Equation 2, and can also be
1722   calculated using a spreadsheet’s mortgage payment function.
1723
                                                                                                        ∗ 1       		
                                                             	2 																																	
                                                                                                        1         1
1724
1725           where:
1726
1727           r is the interest rate
1728           T the economic lifetime in years
1729
1730   In addition to the annualized capital cost, there are also costs associated with operations and
1731   maintenance (O&M) of the transmission system, which are given as a percentage of the capital
1732   costs. These O&M costs can also be converted to dollars per kilowatt-hour using Equation 3.
1733
                                                                   	         	 $/             ∗               	    	            	       	   	         	
                    	3 																																	
                                                                       1000              ∗ 8760               ∗             	
1734
1735   Using the above equations, I calculate the cost of extra transmission using the discount rates,
1736   lifetimes, and maintenance costs listed in Table A.2a of Jacobson and Delucchi (2011) as
1737   follows:
1738
1739           Low-end estimate: = $0.005/kWh
1740
1741           Mid estimate: = $0.014/kWh
1742
1743           High-end estimate: = $0.0.029/kWh
1744
1745   The derivations of each of these figures are provided in the Attachment to this appendix, Table
1746   E-A-1.
1747
1748   These results are not consistent with the results reported in Table A.2a of Jacobson and Delucchi
1749   (2011) of $0.012 (0.003-0.032)/kWh, which are then used in Jacobson et al. (2015b) and
1750   Jacobson et al. (2018). However, it appears that if the calculations erroneously 1) assume the
1751   capital charge rate is the same as the discount rate; and 2) ignore the O&M cost component, then




                                                                                                                                                64
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1752   it is possible to reproduce the low-end and mid estimate show in Jacobson and Delucchi (2011),
1753   Table A.2a, row “Total cost of extra transmission ($/kWh),” as follows:
1754
                                   $   ,       ∗ .        		
1755            Mid estimate:			                               = $0.012/kWh
                                        ∗           ∗ .
1756
                                           $    ,         ∗ .        		
1757           Low-end estimate:			                                       = $0.003/kWh
                                                ∗              ∗ .
1758
1759   These derivations of each of these figures are provided in the Attachment to this appendix, Table
1760   E-A-2.
1761
1762   However, the same calculation does not yield an estimate commensurate with the value listed in
1763   Table A.2a:
1764
                                           $        ,      	∗ . 		
1765           High-end estimate:			                                      = $0.024/kWh ≠ $0.032/kWh as listed in Table A.2a 
                                                    ∗          ∗ .
1766
1767   From this analysis, as shown in the comparison between tables E-A-1 and E-A-2 in the
1768   Attachment to this Appendix, I conclude the following:
1769
1770           First, there is an inconsistency, using whatever methods Delucchi and Jacobson (2011)
1771           applies, in calculating the high-end value for the extra cost of transmission versus the mid
1772           and low-end value. I cannot identify a reason for the inconsistency. The simplest
1773           explanation I can offer is that it is a calculation error. 
1774
1775           Second, it appears that Delucchi and Jacobson (2011) erroneously uses the discount rate
1776           in place of the capital charge rate. When doing this, I could replicate Jacobson’s mid and
1777           low-end estimate.  
1778            
1779           Third, it appears that Delucchi and Jacobson (2011) omits the annual maintenance cost
1780           from its calculation of the total cost of long-distance transmission. 
1781
1782   Issue #3 – Comparison of Jacobson’s long-distance transmission system capital costs to the
1783   capital costs of long-distance transmission projects currently in development further
1784   suggests that Jacobson substantially underestimates capital costs for long-distance
1785   transmission.
1786
1787   Jacobson and Delucchi (2011), Table A.2a reports capital costs as $372 ($299-$429)/MW-km in
1788   the row “Capital cost of transmission system ($MWrs-km).” A note to Table A.2a indicates:
1789   “This quantity is calculated for comparison with estimates of total transmission-system capital
1790   costs in other studies,” but does not list such studies.
1791
1792   Table E-1 provides a comparison of the capital costs for transmission systems in Jacobson and
1793   Delucchi (2011) to several long-distance transmission projects currently under development. The
1794   four projects in Table E-1 were chosen because their cost numbers have recently been publicly
1795   reported.
1796




                                                                                                                               65
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1797    Table E-1: Comparison of Costs for Long-Distance Transmission Projects with Jacobson and
1798    Delucchi (2011) estimates
                                                                                                        Relative to     Relative to
                                           Cost ($      Length    Capacity                              2011 Mid        2011 High-
                                           billions)    (miles)    (MW)             $/MW-km              Estimate      End Estimate
                                                                                               ∗ 10^9
     Project / Scenario        Route           a          b           c                    ∗            e = d / $372    f = d / $429
                                                                                    0.62
 Jacobson and Delucchi                       $3.0
                                  --                     994        5,000             $372                  1.0             0.9
 (2011) Mid Estimatea                        (est.)
 Jacobson and Delucchi
                                             $4.3
 (2011) High-End                  --                     1,243      5,000             $429                  1.2             1.0
                                             (est.)
 Estimateb
                               Quebec
 Northern Passc                              $1.6        192        1,090            $4,751                12.8            11.1
                               to NH
 TransWest Express             WY to
                                              $3.0         730       3,000              $851                  2.3             2.0
 Transmission Projectd           CA
 Plains & Eastern Clean        OK to
                                              $2.5         700       4,000              $555                  1.5             1.3
 Linee                        Southeast
 Grain Belt Express Clean
                               KS to NE       $2.3         780       4,000              $458                  1.2             1.1
 Linef
 The factor of 0.62 in the formula for column d reflects the conversion of miles to kilometers using a factor of 0.62137119.
 a
   Delucchi and Jacobson (2011), Table A.2a, page 1182. The cost is calculated using the capital cost of the transmission system of
 $372/MW-km. Miles are converted from kilometers, which are provided at 1,600.
 b
   Delucchi and Jacobson (2011), Table A.2a, page 1182. The cost is calculated using the capital cost of the transmission system of
 $429/MW-km. Miles are converted from kilometers, which are provided at 2,000.
 c
   http://www.northernpass.us/project-overview.htm; https://energy.gov/articles/department-energy-approves-presidential-permit-
 northern-pass-transmission-line-project
 d
   How to get Wyoming wind to California”, Technology Review 121 (2): 16-17 (2018).. Note that capacity for this project is “up to
 3,000” and therefore costs presented are a lower-bound estimate. Costs could increase if ultimate capacity is lower than 3,000 MW.
 e
   https://www.plainsandeasterncleanline.com/site/page/project-description
 f
   https://www.grainbeltexpresscleanline.com/site/home
1799
1800      Each of these four projects features transmission system costs above the range featured in
1801      Delucchi and Jacobson (2011) and used in Jacobson et al. (2015b) and Jacobson et al. (2018) and
1802      therefore in his Expert Report. While these projects are of lower capacity and shorter distances,
1803      the differences in scale alone do not account for this discrepancy. The Northern Pass project is
1804      further along in its development and only needs a final permit – this project has seen cost
1805      escalations as the development process has progressed. Cost escalations have included
1806      concessions required for permission to site the lines, including agreements to bury large sections
1807      of lines. It is reasonable to expect similar cost escalations in the other projects as they move
1808      through their development processes. As a result, projects of this nature will feature final real
1809      costs that exceed their earlier, projected costs.
1810
1811      In summary, my conclusion from this exercise as reported in Table E-1 is that Jacobson
1812      substantially underestimates the capital cost of long-distance transmission lines.
1813




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1814   Issue #4 – Jacobson makes assumptions on a highly-aggregated basis to determine the
1815   amount of long-distance transmission necessary, rather than relying on designs and
1816   modeling to explore his proposed long-distance transmission system.
1817
1818   Jacobson does not present any designs or simulations of his proposed long-distance transmission
1819   grid. At no point does he present even a conceptual design. He offers no commentary on how the
1820   long-distance transmission he proposes will interact with the existing grid structure that exists
1821   today, which is divided into three distinct interconnects with almost no electricity moving
1822   between them. Jacobson bases the amount of transmission necessary on two broad assumptions
1823   regarding distance (kilometers) and capacity (megawatts); at no point does he carry out any
1824   conceptual design or modeling to test any of his assumptions or determine whether his proposed
1825   system will suffer from congestion or other challenges.
1826
1827   Issue #5 – Jacobson uses an unsourced, unvalidated capacity factor for long-distance
1828   transmission which results in an underestimation of long-distance transmission costs.
1829
1830   In Delucchi and Jacobson (2011), Table A.2a, page 1182, the capacity factor of the transmission
1831   system is indicated to be 40 percent, per row “Average transmission current (fraction of current
1832   at rated capacity).” No explanation or justification is provided for this number.
1833
1834   In my opinion, this number is an overestimate: most of the energy supply in Jacobson’s proposed
1835   100% WWS system has low capacity factors. Specifically, in Jacobson et al. (2015b),
1836   Supplementary Information, Table S2, page 14, the proposed energy system includes a total of
1837   5,780 gigawatts (5.78 TW) of wind and solar capacity.57 Jacobson et al. (2015b), Table 2, page
1838   15063, indicates total wind and solar generation of 13,900 TWh/yr.58 This results in a system
1839   capacity of factor of 27.5 percent (i.e., 13,900 TWh/yr/(5.78 TW*8760hrs/yr) = 0.275).
1840
1841   In my opinion, transmission lines will not have a 40 percent capacity factor when the supply to
1842   those transmission lines is lower, at 27.5 percent. If the capacity factor of these lines is more
1843   realistic, at, for example, 20 percent in lieu of 40 percent, that alone would double the cost for
1844   long-distance transmission used by Jacobson.




       57
         The 5,780 GW figure is the result of summing the values in the column, “Proposed existing plus new CONUS
       2050 installed (GW)” for the first six rows, i.e., Onshore wind, Offshore wind, Residential PV,
       Commercial/government PV, Utility-scale PV, and CSP with some storage.
       58
        This is calculated by adding the Total WWS supply before T&D losses of wind (43,509 TWh) and solar (39,901
       TWh) and dividing by 6 years to get TWh/yr of wind and solar.



                                                                                                                    67
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1845
1846                                                                              Appendix E
1847
1848                                             Attachment A: Analysis of Long-Distance Transmission Costs
1849
1850   Table E-A-1: Derivation of Long-Distance Transmission Costs based on Inputs and Parameters Provided in Delucchi and Jacobson
1851   (2011)
                    Parameter               Low Value Mid Value High Value              Calculation                  Source
       Capital cost of line, land, and
                                             240,000       448,000       680,000              a
       tower ($/MWTS)                                                                                   Delucchi and Jacobson (2011),
       Capital cost of station equipment                                                                Table A.2a, page 1182
                                             118,000       148,000       177,000              b
       ($/MWTS)
       Total capital cost ($/MWTS)           358,000       596,000       857,000          c=a+b         Calculated value
       Discount rate                           0.03          0.07          0.10               d
       Project lifetime – lines and towers
                                                70            60            50                e         Delucchi and Jacobson (2011),
       (years)
                                                                                                        Table A.2a, page 1182
       Project lifetime – station
                                                30            30            30                f 
       equipment (years) 
       Capital charge rate – lines and                                                       ∗
                                              0.034         0.071         0.101         g=
       towers                                                                                           Calculated value, see Equation 2 in
       Capital charge rate – station                                                         ∗          Appendix E
                                              0.051         0.081         0.106         h=             
       equipment 
       Average transmission current                                                                     Delucchi and Jacobson (2011),
                                                0.4           0.4           0.4               i
       (capacity factor)                                                                                Table A.2a, page 1182
       Hours/year (hrs/yr)                    8,760         8,760         8,760         j = 365 * 24    Calculated value
       Conversion for MW to kW                1,000         1,000          1,000              k         Conversion factor
       Capital cost, for line, land, and                                                          ∗
                                              0.0024        0.0091        0.0196          l=
       tower ($/kWh)                                                                             ∗ ∗    Calculated value, see Equation 1 in
       Capital cost, for station equipment                                                         ∗    Appendix E
                                              0.0017        0.0034        0.0054         m=
       ($/kWh)                                                                                    ∗ ∗
                                                                                                        Calculated value; totals may not
       Total capital cost ($/kWh)             0.0041        0.0125        0.0249          n=l+m
                                                                                                        sum due to rounding
       Maintenance cost (fraction of           0.010         0.010         0.015              o         Delucchi and Jacobson (2011),



                                                                                                                                       68
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                    Parameter                        Low Value         Mid Value    High Value        Calculation                       Source
       capital cost per year)                                                                                             Table A.2a, page 1182
                                                                                                                 ∗        Calculated value, see Equation 3 in
       Total maintenance cost ($/kWh)                   0.0010            0.0017      0.0037           p=              
                                                                                                               ∗ ∗        Appendix D
       Total cost of extra transmission                                                                                   Calculated value, see discussion
                                                0.005                     0.014       0.029             q = p +n
       ($/kWh)                                                                                                            in Issue #2 of Appendix D
       Note: Figures may not calculate due to rounding.
1852
1853
1854   Table E-A-2: Derivation of Long-Distance Transmission Costs as Described in Delucchi and Jacobson (2011) and used in Jacobson et
1855   al. (2015b) and Jacobson et al. (2018)
                   Parameter                  Low Value Mid Value High Value            Calculation                  Source
       Capital cost of line, land, and
                                               240,000     448,000       680,000              a
       tower ($/MWTS)                                                                                   Delucchi and Jacobson (2011),
       Capital cost of station equipment                                                                Table A.2a, page 1182
                                               118,000     148,000       177,000              b
       ($/MWTS)
       Total capital cost ($/MWTS)             358,000     596,000       857,000          c=a+b         Calculated value
                                                                                                        Delucchi and Jacobson (2011),
       Discount rate                             0.03        0.07          0.10               d
                                                                                                        Table A.2a, page 1182
       Average transmission current                                                                     Delucchi and Jacobson (2011),
                                                  0.4         0.4           0.4               e
       (capacity factor)                                                                                Table A.2a, page 1182
       Hours/year (hrs/yr)                      8,760       8,760         8,760         f = 365 * 24    Calculated value
       Conversion for MW to kW                  1,000       1,000         1,000               g         Conversion factor
       Total cost of extra transmission                                                          ∗      Calculated value, see Issue #2 of
                                                0.003       0.012         0.024          j=
       ($/kWh)                                                                                  ∗ ∗     Appendix D
       Note: Figures may not calculate due to rounding.
1856




                                                                                                                                                         69
